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Confidential
Confidential                                                                                                                                                                                                                                                             GEO-MEN 00141669
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   Introduction
   In.troduction
   You  are being held in a detention facility that
   You are                                     that is
                                                    is operated
   or contracted by the  U.S. Immigration and Customs En-
                    the U.S.                               En-
   forcement's (ICE)
   forcement’s        Enforcement and Removal Operations
                (ICE) Enforcement
   (ERO).
   (ERO).
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   You\ will
   You  will probablyr stay at the facility until:
                                            until:
   .      TC                                                                                                                                  a                             24,
   *   • Your immigration
                       immigrationi case is           is; decided;   . : .
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   *•       You are ordered to                be; removed
                                          to be     removed from    fromL the:' country;: or,         or,                                                                                                                                          3°

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   °*• You are transferred  transferredl to another facility.     facility.
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   While you are
   While                2
                        7  are;. at the
                                     the facility,        (CE‘ ERO
                                             facility,; ICE       ERO    a.
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   that the   the.; facilityrois
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                                   is' safe,    clean1 and meets
                                       safe,: clean       7
                                                                  meets‘) your. basic,‘ needs;:5                  4                                                  qa                           4                    1                                 1



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                                                    services,: mental|health services'
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    including5medical health             healtht services,
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    and accessaccess‘> toI legallegal11 help.
                                          help.
       1”      tae 4handbook1 to 1learn about:                  1       ‘                                                                                                                                                                                                                                               tee          oe
    Read this, handbook to learnl
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    *•      Your
             Your- rights
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                                  as aa. detainee;>
                                  as                                                                                                                                                                                                                               ~~          *                  :             aoa,                         14                    1
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                                                                                                                                                                                                                                                                   ICE‘ policy is       is‘’ to treat all detainees\' withLldignity. and
    **• Programs‘ and. services‘ available
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     *•     Rules you must     must follow;
                                          follow;                                                                                 >
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                                                                                                                                                                                                                                                                                  us meet these goals, we ask you to:
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            Procedures>for common       commonii situations;
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     -*•     How to report problems                  4' and file
                                                               file complaints.                                                                                                                                                                                                                                                                               may be-
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                            a staff person at your facility or an ICE‘ officer.
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                                                                                                                                                                                                                                                                   facility has, treated treated you,   you,5 let the    the ICEICE4 officers, know.    know. They                                                  oon


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                                                                                                                                                                                                                                                                                                             of other detainees;>1                               oo            1                                     at            ta                               .




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Confidential                                                                                                                                                                                                                                                                                                                                                                                                               GEO-MEN 00141670
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   a
   *• Have.’ your: basic‘ needs‘>met,>including;                    including;’:                                                                                                                                         Degrading:, Treatment. or Punishment.); ,
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        *• Regular opportunities ' for laundry,                    laundry,> showers and                                                                                                                                *        *     )                            _    ,             l
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      the\ facility or the           the Department
                                              Department                of Homeland
                                                                             Homeland Security-                                                                                                                                *         .                  +,           *                 se           ~                           1
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   2  Report any assault,; including an                                      incident{ of
                                                                        an incident           of sexual                                                                                                                                               4    a
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                                                                                                                                                                                                                                                                                                                       lawyer.
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      abuse' or assault,>to facility staff                        staff or DHS;                                                                                                                                             4  new                  4
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      place’ during, the            the‘ facility’s
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                                                                                            Visitors> must                                                                                                               inl the
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      follow the        the facility’s
                               facility's> rules.  rules. You must not give or get                       get                                                                                                            you May   maytee,      miss> your . opportunity
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                                    contact: with+ your7lawyer anda the                          *              my                                                                                                           1        at 4                       c                            ‘       .             a        ‘


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   *• Confidential
      Confidential                                                                              the   courts                                                                                                             submit          the proper
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      by mail, phone: and visits. You also have
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      use      mail, phone
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   *• Access>to law library            library./ resources;.>                                                                                                                                                            a4
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   *• Legal assistanceassistance.: or educational1programs if                                 if avail-                                                                                                               proved,; you may lose::the                      the rightright: to presentpresentt your case.:
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      able. See
      able.         See2your your- locallocal facility, handbook   handbook for informa-                                                                                                                              at a hearing.
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      tionl about legal
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      rules,>procedures>and hours;                     hours;3 and,   and,>                                                                                                                                              ICE       officer           or   the    immigration                 judge.
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        Sign up\ for a work          workc program,                    if your. facilityr has one         one.:                                                                                                          >      < ome                           > 8                               x ar]
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   Legal rights' for your. case
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     • You +have at,
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   *                             right
                         the' right        to a lawyer or approved legal                    legal|                                                                                                                     _            4    ae8   a          9
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       representative of       .
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       government. That person must sign
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       notify the facility that they will represent you;
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       a| hearing_ before2; an
       a                               an immigration   _               judge.
                                                                        judge.
                                                                        _        _   You,      your       -                                                                                                        ¢
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       presenting.; your   youra case          to the
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       government may decide
       government                        decide’ your  your immigrationL status, us-
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       ing alternative;. proceedings>‘ that may
       ing                                                             may not          involve;. an
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       immigration judge,>if
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       You may may be   be: allowed to         to pay aa: bond and           and leaveleave;. the fa-
          oe           ‘1           1                   ~   .                             “4 4
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       cility until                                       is up to      to you to find    find a way                      y                                                     4           ,



       to
       to pay your bond;>
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    *• You have the:: nght       rightt to  to ask for relief from          fromL removal
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       based on various legal grounds, if
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       qualify. (These(These? might-: include,; among:; other things:
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       cancellation of                                 adjustment of
                 a4                                                                               4         ‘     *                                   1       ‘                                     J
                               of removal, adjustment                                status,, asylum,
                                                                                 of status,               2                                                                 .                               >
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       withholding, of
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                               of removal, or relief under the                        the Conven-
                           a                        154             _        ar      4
       tion against Torture   Torture and Other       Other Cruel, Inhuman or
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Confidential                                                                                                                                                                                                                                                                                                                                                   00141671
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            Case 1:14-cv-02887-JLK-MEH Document 310-1 Filed 08/17/20 USDC Colorado Page 7 of
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            Appellate
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                            22-1409
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                                                                                Page: Page:
                                                                                      153 6Sealed
                                                                                                                                                                                                     officer may
                                                                                                                                                                                       materials (an officer may approve hardcover
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                                                                                                                                                                       You will    will be be’. able: to shower. and get                 get clean cleant clothes,‘ as      as9‘
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                                                                                                                                                                       appropriate for the             the climate at your facility.              facility. You  You may
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                                                                                                                                                                       ask your  your° 1housing:>officer        on
                                                                                                                                                                                                            officer      - a       more.’ personal1--
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   What if
   ww rs                              4                           1                   4                 a                    ae

   What   if I do not     readi or
                     not read       understand English?
                                 or understand   English?                                                                                                                    4
                                                                                                                                                                       when you       you needya        them;
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   You have the
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                     right to receive
                the nght t   .*       .            information in a
                               receive important information ve                   ‘                                      ~                                 -                        an      r        - 4          *            .              “               *      +       1
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                                                                                                                                                                   7.. An officer
                                                                                                                                                                   7.            officer will decide your classification level and
   language: or format° that you understand or to have  haves some-
                                                               some--                                                                                                                                  .
                                                                                                                                                                       assign you to a housing- } unit¥ with other
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                                                                                                                                                                                                                                               other detainees, in
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           1      .                    1          a4           nn
                                          terms. Advise:2 an
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   one: explain it to
   one                  you in simpler
                     to vou      simpler- terms.          an officer
                                                             officeriy                                                                                                                         nr              so
                                                                                                                                                                       your classification level. For more information
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                                                                                                                                                                                                                                                  informationtl on this;
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   that you need assistance.                  1                                                                                                                                                         a       *      s 4          a4       “4          4         +          *
                                                                                                                                                                       topic,: see    see1: your>facility’s
                                                                                                                                                                                                       facility'sx5 local handbook,> and see                         see.3 clas-
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                                                                                                                                                                       sification level below; and,
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   Arriving
   An·iving- at the Facility                                                                                         ,
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                                                                                                                                                                   8.. Ahealth
                                                                                                                                                                   8.                     professional or trained officer
                                                                                                                                                                       A healthLprofessional                                               officerCcwill ask you
                     n        *                       (at             1                            *         1                                 '                            1                     4             *       1                 1        tebe        at a           s
   Most facilities¥ follow these steps when detainees' arrive:
   ~
                                                       arrive:                                                                                                         about your physical and mental health. Tell                   1                             them if:
                                                                                                                                                                                                                                                           Tell them    L   if:
                  o                                                                                                                                                           ~~ 4                     44             a4
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            An intake officer will;>
            ‘          -
    1. An intake officer
    1.
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                         will;    *
                                                                                                                                                                        *• You have
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                Take,; your. clothes,       andtoother property1o.
                                                                o                                                                                                                       4                              .           _4        14             .             1
                Take         clothes,>money
                                      money and                 for
                                                                for                                                                                                           immediate:; attention from               from1a healthl professional;  professional;
                  a4           .   *
                safekeeping;>and,
                             and,>                                                                                                                                             or,,
                                                                                                                                                                              or,
                ot        -          1        s    a5       a4                                                                                                                ~e                 1                        1          1               4
            **• Give: you an itemized receipt for all items taken
                                                            takenL                                                                                                      °*• You are taking    taking     5 or needL       | to take
                                                                                                                                                                                                                                  take      medication.
                -
                from
                fromil
                       you.                                                                                                                                          -         *               + +            .            1          *        *        an 4
                                                                                                                                                                   Or ask to speak directly        directly with     with medical staff about your
   ~         arr     *
                                             get youraotthings                                                                                                     i     my                         re                4      1       on                1
   Important! Keep this receipt   so you
                          receipt so you can get                                                                                                                                 concerns. The medical staff must keep your
                                                                                                                                                                   health concerns.
                                                                                                                                                                   health
   back when you
             you are
                 are released.
                      released.                                                                                                                                    information private and
                                                                                                                                                                   information                             and will will not share   share it with     with any non-
   A         1
                officer will
   2. An intake officer
   2.
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                        will make a list
                                                   4    ~~.
                                                         alegal|
                                      list of all of your legal                                         of                                                         medical
                                                                                                                                                                   medical
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                                                                                                                                                                                     staff.
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            and identity documents; (passport,;birth
                                               birth1certificate,                                                                                                  Ant approved| healthLprofessional
                                                                                                                                                                   An                                      professional will          willl give: you a thor-        thor-.
                                              1                       1                           san                                      “           1                  1           + +                         +        144                  4
            etcetera)) then
            etcetera)                       an ICE
                       thenL give: themL to an      officer,, who will
                                               ICE‘ officer,      will                                                                                             ough medical exam withinL 14                                  days’ after you arrive.
                                                                                                                                                                                                                           14 days
                         a                    :                           a                   .                      a4                    4                   .
      put them in your official| immigrationi,file,                      calledI your
                                                                  oan
                                                                   file, called
          er                4
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      A-File. Your Your documents will     j  will be be returned when your.
                                                        :
            aan
      case2 is
                        1     tae
              is resolved. Meanwhile,; if
                                             aoa
                                                      if you need copies1' of
                                                                      1
                                                                                   of
      case
      a         4
              . documents      ,; a             +                +          an
      these: documents             for your. hearing,, ask your. ICE offi-          offi-
                   1
      cer in advance;
   4 ~~          as             .      a oat      4             ar       4           1
   3. You will receive; an
   3.                              an A-Number,
                                      A-Number,5 which    which willL be   be used
            4       c           1                   ‘       aat     a    4     —
      to
      to identify
          identify      you during your stay  7
                                                   stay    at the facility.
                                                                    facility.  This   .
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        sone                    “4                                 ~°
      A-Number should be: shared withLl your family and+
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      your. attomey
               attorney to find   find  you in the the    online detainee
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      tor system;
           system;                                3

       .                   “LT: 4              a   out
   4. An
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   4.
              on
            officer
           officer     will
                        will  tell you what
                              tell         what
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      cannot keep’ withL you at          atLote
                                             the   facility. nm
                                              the facility.              on
                                                                The officer’s
                                                                        officer's  5
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      decisions are   are based on security concerns.
                                          >               concerns. Under your
       noe       .       .                      4 . o           .     4
      facility's‘OLpolicy,
      facility’s      policy,a you may  may     be‘ allowed to keep:
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                 • Religious
                °*     _      items,5 such
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                        medallions;
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Confidential                                                                                                                                                                                                                                       GEO-MEN 00141672
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                                                             ox     AT         ’
                                                             Separate44 Housing
                                                                        Housing
                                                                                                                                                                                                      a                          1                    a               geen              oF       1   -                    o,1
                                                                                                                                                                                                      Sometimes¥ detainees> are  are‘ placedb in separate: housing.
                                                                                                                                                                                                                                                           housing.
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                                                                                                                                                                                                            is\, called
                                                                                                                                                                                                      This is
                                                                                                                                                                                                                    Ww 1         ’     . segregation,
                                                                                                                                                                                                                                                   4
                                                                                                                                                                                                                         segregation. In segregation,  ; you would
                                                                                                                                                                                                                                                             would"1°live.;
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                                                                                                                                                                                                      in an individual cell
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                                                                                                                                                                                                      ees. This happens}‘ if stricter supervision
                                                                                                                                                                                                      ees.                                        is:‘ needed.
                                                                                                                                                                                                                                      supervision is             if                                                                 oo4

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                                                                                                                                                                                                              are,: two kinds‘, of
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                                                                                                                                                                                                      There.; are               of segregation:
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                                                                                                                                                                                                      • Administrative;
                                                                                                                                                                                                        Administrative; and,
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                                                                                                                                                                                                      • Disciplinary.

                                                                                                                                                                                                      Administrative
                                                                                                                                                                                                      Administrative segregation
                                                                                                                                                                                                                     segregation
                                                                                                                                                                                                      You may
                                                                                                                                                                                                          may be placed in administrative segregation if:
                                                                                                                                                                                                                                                      if:
                                                                                                                                                                                                      * • You are being investigated or have aa hearing for
                                                                                                                                                                                                           .       .            .
                                                                                                                                                                                                          disciplinary violations;>
        on oR                              ere                       *                                             Bowe                                  *                                            a   7          ,   4    a4 1   1       o     1       4     1     4
                                                                                                                                                                                                          You are scheduledLto be transferred        or
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   Classificationi and Housing
                       Housing                                                                                                                                          ~
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                                                                                                                                                                                                          24 hours;> or, or,>
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                                                                                                                                                                                                                                                         released

    rng                                             °            ‘                                                                                                                                    a    +           1      ‘   ‘    1                            1
   Classification leveli
                               mo
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                                                                                                                                                                                                                 needL protection              wd
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   wwe                                                                                                                         an                                                                         +
   When you arrive at  at the. facility,
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                                              officerc will
                                         an officer
                               facility,>an            willa decide
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          1     a        4    1     1        :             4               ,
   your classification level and assign   __ t you  to aab housingao . unit
                                               you to                  unit»
       1   1     1                     *     a         1       +                                                                                                                                      ~ - .                 .     -*      -   ~ 2.       -
   witht other detainees‘; in your: classificationi level.
   with                                                                                                                                                                                               Can Iro
                                                                                                                                                                                                      Can                         if Iam
                                                                                                                                                                                                            still] get services‘, if
                                                                                                                                                                                                            still                    I am in administrative:
   m4 1      1.    . a      a         1     s+ «     an      .   1° 1                                                                                                                                                                    .            y4
   To                                 level,; the
       decide; your classificationt level,
   To: decide                                      officer willL look
                                               the officer                                                                                                                                            segregation?
       1     n                   .       1           7 4                                                                                                                                              «r —          “a4t                   *
      the information1 in your
   at the                          records,>to include:
                            your records,                                                                                                                                                             Yes. You will
                                                                                                                                                                                                      Yes.
                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                 will| have.: access‘, to the         types of
                                                                                                                                                                                                                                               same.; types
                                                                                                                                                                                                                                          the same          of services::
                 ~                          1       1                                 1                                                                                                                  aon      *                                     5      1
   **• Criminal   charges‘ and convictions;
       CriminalL charges                                                                                                                                                                                 before. However, you may
                                                                                                                                                                                                      as before.                    may receive   2°          degree. of
                                                                                                                                                                                                                                            receive aa lesser degree  of
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       Immigration
       Immigrationt history;                                                                                                                                                                          each, depending; on available; resources' and
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       ~      -              .                                                                                                                                                                                                   ~~                                       a4        nas
   *•
   4 5 Discipline;: record;:
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                 rt      ns            1     1  a           oe                             1              a           1                                                                                      be: more
                                                                                                                                                                                                      cases, be  more limited:
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   °*• Current
       Current  classification
                classification   t level; and,
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       nw                                                                                                                                                                                             *•  Showers;,
                                                                                                                                                                                                      «
                1     1     ns
    ¢• Other
       Other related information.
                                                                                                                                                                                                      e• Recreation;.
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   a~e                        ear          ee                                x                 on              ve         x                     me                  Lofty            4                °• Law library;library;3
   What: if I[ think‘ my classificationt level is
                                               is, not: right?
                                                        right?,                                                                                                                                           ”                         -   4      I       +
             ao 4     tea .                        n.                                                                                                                                                 *•: Presentations‘, by legal       legal| nghts
                                                                                                                                                                                                                                                   rights‘’ groups;.>
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   =+  4                              1      . 1              1    1   1
   You have: the
               the right
                   right t to appeal your classificationl levelL and                                                                                                                                        “      n_     4     + 4
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   1          +             wm   fo 4                 aa\            1                                                                                                                                 • GeneralL telephone?. calls;              1
                                    that,.} you
                            To' do that,                  .
   housingatoplacement. To                  you must file
                                                      file; an appeal
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                                                                                                                               _           aa                                                                      ot                             q
                  4                                         1                s                            1          tomo                                at                          1                 • GeneralL visitation;visitation;:
   to change. your classification level. Follow the
                                   '            the; appeal                                                                                                      +
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                                             “4                                      te
              :,      : facility's                                                                                                                                                                                            <
   procedures in your facility’ss local. handbook.                                                                                                                                                    *•,
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                                                                                                                                                                                                          Religious_          a guidance;. and,
                                                                                                                                                                                                      _   7                +                    +              17       6   .   -
                                                                                                                                                                                                      *•  Personal property and materials> (including: legal,               legal,,
   -—=      ”       a ,    oc    -   axe           .    .        »    on     °                                                                                                                                *             ‘     *             1       4     :        aN
   How often        does3 the: facility review the classification
          ofteni does r                                 x
                                                                classificationL                                            r           ”                                                 2                religious
                                                                                                                                                                                                                 _            and _personal reading> materials).
                                                                                                                                                                                                                            >and                                materials).     L


   *   som *           .       9                                                                                                                                                                      wr                            --    1                a             :           \
                 detainees?,
                                                                                                                                                                                                                                                                                                                                     ~
   levels3of detainees?
   levels                                                                                                                                                                                             However,, you
                                                                                                                                                                                                      However,           you will stillstillL receive; the same same extent of access
                                                                                                                                                                                                                                                                               access>
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    mm     a            4     1                     4       4      a1   An 41   ,
                                                                                                                                                                                                      to:
                                                                                                                                                                                                      to:
   Classification levelslevels3 are: reviewed no later thanl 90 days'
          1              1     «            tA toga
                on
                                                                        reviewed4                                                                                                                                  ee       -

                                                                                                                                                                                                      °• Mail;,
            a.                                                                                                                              aT                                                                 ~
   after the   firstt classification. After that,
         the first                                   that,,they
                                                              they are reviewed                                                    4



                     1 ,          an      Ins‘ 4 4           ovat
                                          120 days'\ after the    1
                                                                      most: recent“                                                                                                                   .   .          tet voo4               a
   approximately every 90 to
              a‘                 re)
                                      to 120
                                      so 4      1     1      m4          +04
                                                                                                                                                                                                      *•                telephone+2 calls;
                                                                                                                                                                                                          Legal telephone
                            rn                                      1                                                                                _
   review. See
   review.    See: your facility’s
                            facility's }local rulesrules3for aa. detailed                                                                                                                             ¢• ¥Legal* visitation;, and,      and,1>
     1   44'          1        1     a            1       1     “44             +
   schedule, of  of when classification
                               a
                                                  levels) willL be reviewed.
                              classificationl levels                                                                                   1             1
                                                                                                                                                                                                      “   wer      4 a
          -o. 4                                                                                                                                                                                       *•  Healthcare.; services. services.
   If
   If you are
          are        1           1          . ot  on          |
             : placedtLin segregation,; your classification will
                                                            will
   1                                        wa          00                                     ‘                     a‘                                      l                  1
      reviewed before you returnito the
   be reviewed                          generall population.
                                    the general                                                                                                                                                       —                                                    woe            ae                 .                             .
                                                                                                                                                                                                      How’ long
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                                                                                                                                                                                                      ~        a                         1,
                                                                                                                                                                                                                                         i                       ~              ro”                                                  .
                                                                                                                                                                                                      It depends; on your case. The security supervisor reviews
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                                   ~            ase
   Can the facility change my classification\ level1at other
                          7                                      =



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   times?                                                                                                                                                                                              +    14a       1     1
   «r     +   nos           1             1     a         +   1   1                                                                                                                                   should stay in that placement.
                                                                                                                                                                                                                           placement.
   Yes,; the
   Yes,      facility7can
         the facility          3 . your: classificationt: level and
                      canLlchange                               and                                                                                                                                   ~oll
                                                                                                                                                                                                               the3 review schedule:
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   housing placement
             placement at any time:                                                                                                                                                                      _                        .           *    mat
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                                                                                                                                                                                                      *• First: review, of
                                                                                                                                                                                                                        of your placement
                                                                                                                                                                                                                                -                     hours34of
                                                                                                                                                                                                                                           withinL 72 hours  of
   *• For safety
           safety reasons;>or,
                             or,,                                                                                                                                                                          1
                                                                                                                                                                                                         placement
                                                                                                                                                                                                                      -
                                                                                                                                                                                                         placement by a security supervisor;
                                                                                                                                                                                                                                    supervisor;
      —-    L4
   ¢• Ifyou       .,
                     not followed1L the
      If youL have not                    1
                                    the rules.
                                        rules.                       nwoaa1                               tf                                                                                             -                            -       >                                              ~                   *




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   3                                                                                                                                                                                     U.S.
                                                                                                                                                                                         U.S.  Immigration i and| Customs
                                                                                                                                                                                             . Immigration        Customs3 Enforcement
                                                                                                                                                                                                                           Enforcement                                                       -• National   Detainee
                                                                                                                                                                                                                                                                                                         i Detainee3 Handbookt



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Confidential                                                                                                                                                                                                                                                                                                             GEO-MEN 00141673
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   *• Second review of
                    of your placement after       days of
                                            seven days of    e
                                                             • General visitation;
                                                                       visitation;                                                                             *                                                                                                                                                   >

             1                                        at                   ~                             “                                            .                .               1                                              eee
                                                                                                                                                                                                                                -*• Religious
                                                                                                                                                                                                                                           me     oa
                                                                                                                                                                                                                                             . guidance;    4
         placement by aa security supervisor;
         placement                supervisor; and,                                                                                                                 °                                                                                     and,
                                                                                                                                                                                                                                                         and,
                                                                                                                                                                                                                                                            .                    yO                                    ’                   y

         wee ae    .                .         a   tn        AR
   .*•   Weekly reviews of        -placement for the
                          of your placement          firstt 30-60
                                                 the first  30-604                                                                                                                                                              _*• 7
                                                                                                                                                                                                                                    Personal1property and materials3
                                                                                                                                                                                                                                    Personal                       3 (including;legal,
                                                                                                                                                                                                                                                                                legal,
          s   fm,         .
                            second| review,
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            . >after .your second
         days
         days                              ' regular
                                               _     but less, fre-.
                                                         lessrice!                                                                                                                                                                     ;
                                                                                                                                                                                                                                   religious  and -personal| readingi 7materials).
                                                                                                                                                                                                                                                                        materials).;
                                    RAR eA
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                 .                                        ns
                          ae
      quent: reviews1 after. the    firstt 30-604 days1 of placement..
                               the first                                                                                                                                                                                                           4   +        .
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                                                                                                                                                                                                                                                                         same, extent                                  |
                                          Roe                                                                     an
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                                                                                                                                                                                                                                However,, you will
                                                                                                                                                                                                                                                will still receive“ the same
                                                                                                                                                                                                                                                     still receive .           extent of
   a                                                    ea         .
   (See4‘ your facility’s
   (See                           rules3 for aa. more
               facility's y local rules          more” detailed review
         Hoty
   schedule.)
                                                                                                                                                                                                                                        to:
                                                                                                                                                                                                                                access to:
                                                                                                                                                                                                                                °• Mail;;
   wes                   _                                *                                          .            .                       .               tl                       .   +?                                                  ~                    -            *               *                         +
   When a security supervisor reviews\ your placement,;                                                                                                                                                                         .*• Legal telephone  .3calls;
    1    “y         .        ta                              4                                                                                                                                                                        - telephone
   they will
                                         tote
        will interviewryou and thenLcreateto, writteni record
                                            a written
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                                                                                                                                                                                                                                    -    woe, -
                                                                                                                                                                                                                                  • Legal visitation;, and,
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   of  aoa

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   ofthat interview. Once
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                             Once
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                                   : there: has beenLa decision made:
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                                                                                                                                                                                                                                  • Healthcare.; services.
                                                                                                                                                                                                                                                 services..
   on your placement
               placement after aaLreview,review,>the the security supervisor
                   written decision to
            their written
   sends their                                  the facility
                                           to the    facility administrator
                                                                administrator
   for approval or denial.denial. A    copy of
                                   A copy       of the  final written deci-
                                                    the final                                                                                                                                                                   Will
                                                                                                                                                                                                                                Will the facility review my placement        placement in disciplinary
     .       oad        .                  1      a       :           :  :                                                                                                                                                                 .     _
   sionl will
   sion         be.; given to
           will be           1
                              to you unless\' there
                                                  theres; is a- security issue                                                                                                                                                   segregation?
   ao,             st       A oeae e             oo             ae   o4    an                                                                                                                                                   —     Looe “yt .              .         4                a ae,
   that’ prevents the   the facilityr from      giving5 you this: decision..
                                       from giving    +                                                                 L                                      5                                                                Your case:‘ will
                                                                                                                                                                                                                                Your           will be   reviewed every seven[ days, to:
                                                                                                                                                                                                                                                     be‘ reviewed                               to:,
                                                                                                                                                                                                                                    See‘ if
                                                                                                                                                                                                                                    a                     *       :              *     1
                                                                                                                                                                                                                                                                             ofthe
                                                                                                                                                                                                                                                                          as
                                                                                                                                                                                                                                ¢• See   if .you are obeying  .      ay all of  the rules;,
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   —
   What’ if II do
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               do) not agree              a
                              withL the decision to leave me
                       agree. with                        me              4                      .               e.e        out                       ®                                    :    a
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                                                                                                                                                                                                                                                   ‘ you    are \
                                                                                                                                                                                                                                                                ‘   receiving   , proper
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                  proper services;        1
                                                                                                                                                                                                                                                                                                     , and,5
   -   - te         . 1          7    4                                                                                                                                                                                             n      4       +                  + 4          as                  +
   in administrative
      administrative    segregation?
                              _                                                             —                                                                                                                                   *•
                                                                                                                                                                                                                                «
                                                                                                                                                                                                                                    Consider. placing: you back in the            the general population.      >
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   ~~            4ca            14     1 oe
                                          *
   You have: the rightv to appeal the
             the right            the decision..

   —             ,       eT                                                sy
   How do I appeal?
     for                1      :                 aoe,           .
   After. seven days   days5in aa row of    of administrative. segregation,
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   you maymay appeal the     the decisionst, of                   1        a
                                                            review7conducted,>
                                                 of any review                          a            .       °                                                                 .                        1        4   4a



                               notae                                        a4
                                          administrator., If
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   by writing7 to   to the5 facilityr administrator.
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                                                               If you need1 help,                                                                                      °                                     v            1

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   ask foroea: staff member                    interpreter to help you write?.
                           mem her or an interpreter
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   your appeal.
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   review your case    case; every 30   30 days.
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   Disciplinary Segregation
   Disciplinary
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   Can    still7get services‘ ifif 77
   Can II2still                    II am placedj in
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   segregation?                                                                                                                                                                                                                 outside; the
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Confidential                                                                                                                                                                                                                                                                                                                                                                           GEO-MEN 00141674
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             I am represented     by aaotlawyer?)               _                                                                                                                                        ~       wuss                            ~           *        .        am          7
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   the                find aa lawyer, unless another detainee          needs
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   What’ if I need  need to make,, an        an emergency, call?
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         Your. housing:} unit. officer; officer;:>
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   Could    lose my phone: privileges?                                                                                           %,
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   Yes,                may limit’ your use' of
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   Important!: [tis It is: up to
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          be' monitored.. To
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                must- list                              number on the
                                     lawyer's 3phone: number
                       list. your lawyer’s                              :                                                                                                                                                -
    ‘   *     .  sow~       a      *                                                                           ~_                                                                                        my          ont 44                                                                            .                            :             .                     .                                                       “4                         an
   Authorized Phone;; Numbers
   Authorized               Numbers Form.Form..                                                                                                                                                          To' find
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                                                                                                                                                                                                             findL| lawyers and organizations           areaL: that: offer
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   Do I. have: to‘ pay to use
                           usex: the: phone?
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   You     use1: the telephones\ in your
   You can use                            housing3F unit: to
                                    your. housing                                                                                                                                                        ¢
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         free: calls,‘ to:
   make: free          to:>,                                                                                                                                                                               providers.
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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                             GEO-MEN 00141675
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                 cannot pay for phone. calls?
   What if I cannot                                                                                                                                                                        Visits from family. and friends‘
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   then calls will be
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                       officer about your ability
                ICE officer                          to pay.
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    ota
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   Calls‘b to
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           to your. consulate
                    consulate                                                                                                                                                              4
   ~ ~I call4          » ’ \    sos   om                                                                                                                                                   hours.
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   Can I call my consulate to ask for help?
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   Yes, you may
   Yes,
                   +         : .     town
                       the consulate; in the
                 call the
            may call                         U.S.; all calls to
                                         the U.S.;
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   your consulate are   free.                                                                                                                                                                                      .           wen
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   How can my consulate: help
   How                   help me?                                             .                        }                    “

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    • Help) you contact
                 contact‘t your. family;
                                  family;; or,
                                           or,                                                                                                                                             ---        =          ,                                                                 «   .                                ~
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                                                                                                                                                                                           How long~i can I meet with my
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      Visit
      Visit’ you
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    -                                                                                                                                    -                7                                1              *  1       +   *   *   .
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                            to
   Can ICE help’ me
       ICE1help     contactf my consulate?
                 me contact     consulate?                                                                                                                                                 have:. more —
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                     --4 -        TTT     oe     .    ‘ q                                                                                                                                  —                              tae      Le            1)
   «YrYr
   Yes,; you may ask
   Yes,              ask : your ICEICE;‘ officer
                                         officer   to tell
                                                      tell      .        ‘
                                                                  country's
                                                           your country’s
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   consulate that: you are   are; at the
                                     the facility. After being notified,                                                                                                                   members3 who have, come' from far away.
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                           is: allowed1| to call1" and visit         -4 7
   aq,                                                 toe
   the
   the   consular staff
       , consular          is                            visit you at   the
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    a    4
   facility.
   facility.                                                                                                                                                                                ~               ae                         “                       -                       an                   se
                                                                                                                                                                                           Can children  (less; than
                                                                                                                                                                                               children1 (less  than 18         old)}visit me?
                                                                                                                                                                                                                     18, years, old)                                           1


   wre
   Visits
   Visits                                                                                                                                                                                  Yes, if
                                                                                                                                                                                           Yes, if they come with an        visitor. That adult must
                                                                                                                                                                                                                      adult visitor.
                                                                                                                                                                                                                   an adult
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                oe     .     bee         oy                                                                                                                                                watch1 the
                                                                                                                                                                                           watch  the children and make; sure  they do not bother
                                                                                                                                                                                                                         sure: they
   Can II have visitorsF at the
                            the: facility?                                                                                                                                                   .        *
                                                                                                                                                              4             .              other people.
   Yes,>but your visitors must follow rules about behavior,,
   Yes,                                                          y
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                                                                                                                                                                                           Meeting         vour lawyer
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            and packages (see
   clothing and          (see your
                              your facility's        rules).
                                   facility’s, local rules).         ,                         ’
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                                                                                                                                                                                                                          visitt you any day of
                                                                                                                                                                                                                                                                                                                                *       *
           rules do visitors: have: to follow?
                                            ==                                                                                                                                             ~
   What                                      '                            '                            .                                                                                                 paralegals; may
                                                                                                                                                                                           Lawyers and paralegals    may visit               of the
                                                                                                                                                                                                                                                the
   Visitors must:
             must:                                                                                                                                                                         week during. the           hours for lawyers
                                                                                                                                                                                                        the visiting7)hours          .   at your
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           wurT
       Wear appropriate clothing, and
                                                     .   4           1            sae                                       1
                                                                                                                                                                                           facility.
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   *•  Behave in an             way. If
                    an orderly way.   If you or your visitors‘, are
                                                                are.:
       disruptive,; they will
                          will have: to leave,, and
                                                and the facility
                                   as
       may limit: your visits‘ in the
       may                       athe future.
                                        future.                               y




                                 :
             visitors.3be searched?
   Will my visitors
                                                                                               say
            the facility may search visitorsx’ and anything
   Maybe, the                                                                                                                                                          _?
   a     1
   they bring to
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               to the
                  the              Visitors. may
                         facility. Visitors
                         facility.           may be asked    sae
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                                                        asked to                  .                                     >
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                           a,       So
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   their things in a locker or in their car.
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                                                   Tell
                                                   Tell your visitors;                                                                               4a


                   aA            1     : or other
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   not to bring a~tlot
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   not              lot of packages
                            packages .      other’ items with them.
                                                                them.                                  >




          visitors3bring:me things?
   Can visitors             things?4
       o4                      .   ota
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   It depends,
      depends, you may           only, those
                     may accept only   those.; items that an
                                                          an of-
                                                             of-
   o                 s and
                       and4 approves.
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   ficer first checks
         first                                   '           L                                                     >

                   ‘                     Lan              a
   Important! Anything you accept from     from a visitor that was
                  1:        nw         1     1  e              4
   not approved by an officer
   not                     officer can be taken from
                                                from you,, and
   you may
        may be be disciplined.

                                         .                   _-                                    -                            -
   What if my visitors3 don’t
                            don't know about             rules?+
                                          about the rules?
                                                   1
      is‘, up to you to
   It is                           facility's ‘>rules
                        learn your facility’s
                     to learn                   rules for visitors‘,
       4                                        4
   and to          sure your visitors know them, too.
           to make sure              17          »
                                                 o     too.          :            .        .
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   B                                                                                                                                                                             U.S. Immigration
                                                                                                                                                                                 U.S. Immigration and Customs
                                                                                                                                                                                                      Customs Enforcement
                                                                                                                                                                                                              Enforcement                                                                    -• National
                                                                                                                                                                                                                                                                                                National Detainee
                                                                                                                                                                                                                                                                                                         Detainee Handbook

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Confidential
Confidential                                                                                                                                                                                                                                                                                                        GEO-MEN 00141676
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                                                                                                                                                                                          example:
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                                                                                                                                                                                                                      facility'sx>administrator;,>or,
                                                                                                                                                                                         been approved by your facility’s                            or,
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                                                                                                                                                                                      *• The staff may
                                                                                                                                                                                                     may read or censor all mail   mail you send
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   Check your facility's               rulesi to  a
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   Can                          during;r meal] hours?
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   Yes, you may             meet with your lawyer during, meal
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Confidential                                                                                                                                                                                                                                                                                                          GEO-MEN 00141677
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Confidential
Confidential                                                                                                                                                                                                                                                                                                        GEO-MEN 00141678
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Confidential                                                                                                                                                                                                                                                                                                                                           GEO-MEN 00141679
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    only be used to      to prepare: legal legal documents. They are               are  not                                                                      ~—            ~        .
                                                                                                                                                                 The facility serves‘, meals                       day. You
                                                                                                                                                                                             three2? times1, every day.
                                                                                                                                                                                       meals5three                      You are
                                                                                                                                                                                                                            are
                                                                                                                                                                                                                                                           *             4                                                 1
     a
    for personal| communication.                                                                                                                                     a              1                      4                 to                             1                        7
                                                                                                                                                                         one; meal
                                                                                                                                                                 allowed one  meal at each mealtime.
                                                                                                                                                                                           mealtime.
    If
    If you needneedI materials3
                   an         a
                                     eon
                                                        +
                                                             1
                                       > for personal| letters,
                                                                             +
                                                             letters,>ask your hous-
                                                                 +        *
                                                                             _
                                                                                        *
                                                                                        hous-                                                                    _The meals: ‘ are:
                                                                                                                                                                               are:                ’

    ing unit
          unitt officer
                 officercfor paper, pencils and envelopes.         envelopes.
                                                                         y
                                                                             -               '                                                                            ad                                   as        a         1                             +
                                                       ~         +                                                                                               «
                                                                                                                                                                 *• Nutritionally balanced;
                                                                                                                                                                               1by a 1
   — . are the  .7
                                                                                                                                                                 ¢
                                                                                                                                                                      ‘
                                                                                                                                                                  • Approved   t byaLtdietician
                                                                                                                                                                                           ‘      L
                   law: libraryr >hours?9,
                                                       wee
   What                           hours?                                                                                                                                                     _c 1
            an               ea                                                                                                                                  •* Served1 in a clean,
                                                                                                                                                                 .-a                1
                                                                                                                                                                                          safe place; and,
                                                                                                                                                                                          safe    place;    1  _


                            are, posted in allv4housing, units.
       1
   neve'              1                                                                  1                   a4                                                                                                                            >                     ,                       2            ,
   The law library
            libraryé7 hours are
                                                                                                                                                                 ¢• aServed1 with1L napkins
                                                                                                                                                                                       1      \    1      a   o4
                                                                                                                                                                                                                  must return the
                                                                                                                                                                                              , and utensils (you must        the
   Tyr
            allowed at leastae
             as
   You1are allowed
   You
                     ||  1
                               five: 1hours each
                              five
                                               1     1         1
                                                 week to' work on                                                                                                          1      1      1         a
                                                                                                                                                                                          of
                                                                                                                                                                                                         1\
                                                                                                                                                                     utensils
                                                                                                                                                                     utensils at the
                                                                                                                                                                                 the  end  of   each meal).
   your case.
         case.

   oT
   What   if II need1more
                     more time at the law library?
                                                                                                                           —a




                                  o                          o
   Fill
                           q                                                                         t                 4                 a             4
                                             send it to the
   ae
   Fill out
        out a detainee
               detaineese request form
                                  form and send         the facility.
                                                             facility.
   _ 4          «
             why you needl more time.
   Explainl why
   os   n   1
        facility may give you
   The facility                   more.: time if
                             you more
                               r              if you have.: an
   urgent need or special circumstance.

   aad               1   oem               aod  "9     a
   How do I find the legal materials I need?
    el *    aon‘          4    4  1      *    a4          ~
                                       and publications. Or it
   co

   The law library    may have books
            libraryé7 may      booksx> and
            ~     ~+       os 1 Ne 4        *    ”      1   1
   may use LexisNexis. This' is CD-based software‘. that
   may                                                 that lets
                                                            lets1s
   you
   vou find       materials on a computer.
       find legal materials      computer.

                                                                                                                                                       ys oom
   12
   £2                                                                                                                                                  U.S. Immigration
                                                                                                                                                       U.S. Immigration and Customs
                                                                                                                                                                            Customs Enforcement
                                                                                                                                                                                    Enforcement                                                                                      -• National
                                                                                                                                                                                                                                                                                        National Detainee
                                                                                                                                                                                                                                                                                                 Detainee Handbook

                                                                                                                                                                                                                                                                                 3 Supp. App. 156
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                                                                                        Sealed
   Where do
         do I eat?
              eat?
   You will eat in:
   *•   Acentral
        A central dining room;
   *•   A
        A dining
          dining room in your housing unit; or,
                                            or,
   *•   Special Housing Unit.
        Special         Unit.

   What is on the menu?
   The facility                   menu. Menus and meal
       facility offers a standard menu.           meal
         may be posted on
   times may           on the housing bulletin board.
   See your facility’s
   See      facility's local rules.

   Is there
      there pork in
                 in the food?
                        food?
   Most facilities do not serve
                          serve pork, but
                                      but check the
                                                the day’s
                                                    day's
   menu to be sure.
                sure.
                                                                         If your facility has
                                                                         If your                         recreation area, you will
                                                                                          has an outdoor recreation
                                                                            permitted to access it for at least
                                                                         be permitted
                                                                         be                               least one hour aa day,
                                                                                                                            day, five
                                                                                                                                 five
   What if II have aa special
                      special diet?
                              diet?
                                                                         days aa week, if  weather permits. In some facilities you
                                                                                        if weather
   Important! It is is up to you to ask for aa special diet if
                                                             if you
                                                                you
                                                                         may be permitted more outdoor recreation. Check
                                                                                                                      Check your
   need it.
                                                                         facility’s       rules for more
                                                                         facility's local rules     more information.
                                                                                                         information.
   If
    If you need aa special diet for religious reasons, ask the
                   special diet                               the
   chaplain for aa “common
                    "common farefare dict.”
                                     diet."
                                                                         What
                                                                         What recreation activities may be available?
                                                                                                           available?
   Ifyou need aa special
   If              special diet
                           diet for medical reasons, ask thethe
                                                                         Your
                                                                         Your facility may
                                                                                       may have:
                                                                                           have:
   medical staff to evaluate your request.
   Your request must be  be approved before you cancan get               ¢
                                                                         • Television;
   ‘Your                                                get spe-
                                                             spe-
   cial meals.
         meals.                                                          «
                                                                         • Movies;
                                                                         *• Games:
                                                                            Games; and,
                                                                                     and,
                                                                         *• Exercise equipment.
                                                                            Exercise


                                                                         If                    is cancelled or
                                                                         If outdoor recreation is           or not available,
                                                                                                                   available,
                                                                         will Il get
                                                                         will        more indoor recreation
                                                                                 get more        recreation time?
                                                                                                            time?
                                                                         No.
                                                                         No.

                                                                         What if my facility does
                                                                         What                  does not have outdoor recreation?
                                                                         If               has no outdoor recreation, you may
                                                                         If your facility has                            may be
                                                                         eligible to request voluntary transfer
                                                                                                       transfer to
                                                                                                                to another facility
                                                                                                                 number of
                                                                         with outdoor recreation after a certain number of months
                                                                         (ask your ICE officer).
                                                                         (ask          officer).

                                                                         Religion
                                                                         Religion
                                                                         You will
                                                                               will have opportunities to participate in practices
                                                                         of
                                                                         of your
                                                                            your religious          These opportunities will only be
                                                                                   religious faith. These
                                                                         limited if
                                                                                  if you present a specific   documented threat to
                                                                                                     specific documented           to the
                                                                         safety of                    involved in the aforementioned
                                                                                     the individuals involved
                                                                                 of the
   Will II get                if I am being
           get different food if      being disciplined?
                                                                         religious activities, or if                 1
                                                                                                   if you disrupt order in the facility.
                                                                                                                               facility.
   No. we do not            to punish or reward.
               not use food to           reward.
                                                                         All                        you reasonable access to reli-
                                                                              facilities must give vou
                                                                         All facilities                                         reli-
   Recreation                                                            gious services and providers of
                                                                                                      of your faith. at




   You will be allowed to have recreation for at least one
   ‘You                                                                  Your facility will
                                                                         Your          will explain how to contact the    at
                                                                                                                   the chaplain
                                                                                                                        chaplain or
             day. Recreation may
   hour each day.                may be indoor or outdoor,               religious services coordinator for your facility and give
   depending on your
                  your facility.
                       facility.                                         you information about:
                                                                         ¢ Special religious diets;
                                                                         • Special           diets;


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                                                               ys oom
                                                               U.S. Immigration
                                                               U.S. Immigration and Customs
                                                                                    Customs Enforcement
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                                                                                                             AS
                                                                                                          -• National
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                                                                                                                      Detainee
                                                                                                                      Detainee Handbook


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   ~
   *       Visits‘5 from
     • Visits       fromL aa religious'' representative;                                       But the facility, may -                   ;
                                                                                                                 may give you a. refund before' you leave,
                                                                                                               ate                                           =                          .                    1

                                                                                                              , ee OL                 4
   *•
   =
                4
               ~~        *
           Religious; headwear
                                  +             + *         *
                         headwear and other religious: property                                if  1    +
                                                                                               if they choose; to. See      °   1
                                                                                                                   See your facility’s
                                                                                                                            facility's       1   1
                                                                                                                                               rules.
                                                                                                                                       3 local rules.
             a4             *    1 n     .         1
           allowed at the  the facility;; and,  and,>                                          sr
                              . x resources, services, instruction
                                                                                                           4                         a

   -*• Access
                                                                                               Voluntary Work   \Vork Program
           Accessx to religious
                         religious
                             >               >                                                 -                                         ~ ae            -       -       -
                4          +
                                -                       >           ,
                                                                                               Can II work whileb II am at the facility??
                                                                                               Can    [

           and counseling.
                  counseling.
    ICE
        ~— 4
      ICE detainees may
                         \
                            may usually:
                                             14                                                If
                                                                                               If your
                                                                                                             -   *
                                                                                                  your: facility has
                                                                                                                         ~ *
                                                                                                                 has, a volunteer work
                                                                                                                                       *
                                                                                                                                         program, you may
                                                                                                                                   work. program,          may
                   f                 s                                                         wy bt,  ~
                                                                                                   able, to    4               14but 7      e   1        1                   ~      .       ~

           o™Tt,                                                                               be‘ able
                                                                                               be        to volunteer  to work,
                                                                                                                          work,   but many  facilities  do
                                                                                                                                                        do ‘ not
   a
    *•     Take: part in their
           Take
                               +
                              their   Creligious
                                           1
                                                   ;practices;:
                                                   ‘
                                                                                                noe          a,              a4>                      ,

           wer                    4     1        4      1                                      allow ICE detainees
                                                                                                             detainees into
                                                                                                                        into their work programs.
                                                                                                                                 ‘              5    ,

    •¢ Wear approved. religious' headwear         headwear    and1 garments; my
                                                                              >
               -       a
           and,>
           and,
                                                                                               Will IlI get
                                                                                                         get moneyr for mymy work?,
    °*• Have: other approved religious3 property.         property.
                                                                                               If
                                                                                                                        “         +             1
                              -          +
                                        wee
                                                  ~   ~
                                                          .    *
                                                                ~ -
                                                                      **        en
                                                                                               If you participate.; in the                 work-. programl at your
                                                                                                                              voluntary work
                                                                                                                        the voluntary                             your-:
                                                                                                                                                                     7
      wv                   awe
     The facility cannot limit these
            »facili(v5               Ff              >
                                                       unless there, is
                                               these unless           is a specific
                                                                           spec(fic'           a   4              1         4       amas        4   4              4
       *                   oe                         .     *  as                -             facility,: you will get
                                                                                                                    get at least $1 $1 for eachl day you work, work,>
     documented
     documented threat   threatf to personspersons ‘ involved
                                                                    »
                                                      involved in these, practic-                   a.       4                 --                   4      1      1
                                                                                                                                                          the; end of
                                                                                                                                                                     1

                   oe ne
                                             _                             -                   not for   eachi assignment. You will
                                                                                                    for each                          will get
                                                                                                                                           get paid at the          of
     es or activities.
         '                                                                                              4            4       1            nO        1                                           ean
                                                                                               every day you work,
                                                                                                                                                                             otae

                                                                                                                  work, unless your facility. has aa‘tLdiffer-
                                                                                                                      4              n       nA ota         “]
              _ --          +4 a *         .                                                       way of
                                                                                               ent way    of paying detainees.
                                                                                                                     detainees. Some Some facilities willwill pay
   ~
   Important! You must                    for. approval
                    must ask the facility for   _-
                                                        1of
                                                         of                                            :       :                    tan                         °
                                                                                               everything that you                    before2; you are transferred
                                                                                                                        are. owed before
                                                                                                                   you are                               transferredI
   any hard-covered1religious;book. Unless you get
                                 a or 4
       1   *          +       *
                                                   get approv-                                                    ne           noe
                                                                                               or released. Check
                                                                                                                Check your facility’s
                                                                                                                              facility's local rules.
                                                                                                                                                  rules.

                                                                                               How often will I get paid?
                                                                                                                    paid?
                                                                                               Most facilities pay detainees every day.
                                                                                                                                   day. Your facility
                                                                                               may use another system where you getget paid before you
                                                                                               are transferred or released.
                                                                                                                  released.

                                                                                               How many
                                                                                                   many hours can I work?
                                                                                                        hours can
                                                                                               You cannot work
                                                                                                          work more                  per day or 40
                                                                                                                         eight hours per
                                                                                                               more than cight
                                                                                               hours
                                                                                               hours a week.

                                                                                               What are the requirements for the work program?
                                                                                               What
                                                                                               To take part in this program,
                                                                                               To                   program, you must:
                                                                                               ¢
                                                                                               • Sign aa voluntary work
                                                                                                                   work program statement;
                                                                                               ¢
                                                                                               • Complete
                                                                                                 Complete any work-related traming;
                                                                                                                             training;
                                                                                               *• Follow all dress, grooming, and hairstyle require-
                                                                                                                                             require-
   Commissmy or vending machines
   Commissary                                                                                     ments for your
                                                                                                            your work assignment;
   Your           may have aa store, called a commissary, or
   Your facility may                                                                           *• Work the schedule assigned to you;
                                                                                                  Work                            you; and,
                                                                                                                                        and,
   vending machines.                                                                           ¢• Do your assigned work satisfactorily.
                                                                                                                          satisfactorily.
   If                                      do not have to buy
                             service, you do
   If your facility has this service,
   anything if
             if you do not
                        not want to.
   If
   If you
      vou want to use the
         .,J
                            store, check your
                       the store,        vour local
                                               local rules
                                                 ·'
                                                      rules first.
                                                            first.
                                                          ..,



   Detainees do not have aa right toto use the
                                           the store.
                                               store.

   Do I have to buy basic toiletries from the commis-
   sary?
   No, your facility must give you basic toiletries and hy-
                        as soap,
   giene products, such as soap, shampoo, sanitary
                                          sanitary pads and
   toothpaste.


   What if I bought some items, but I got transferred or
   removed before
   removed        they were delivered?
           before they      delivered?
   The facility does not have to send you the items or give
   you aa refund if         transferred or deported.
                 if you are transferred

    ze
   14                                                                           Ssm    8   .       .                         a       4          «6       .           Asaf. pm
                                                                                                                                                                         Detainee2 Handbook     an      ct       2,
   L4                                                                           U.S. Immigration
                                                                                U.S. Immigration and Customs
                                                                                                     Customs Enforcement
                                                                                                             Enforcement                                     -• National
                                                                                                                                                                National Detainee

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   Can
   Can I be fired?
             fired?                                                                                                                                            officer about how you might be able to take
                                                                                                                                                               officer                                take part in your
                                  4               a                                                                                                            1
   Yes, you can
   Yes,          be taken out of
            can be               this‘; programi if:
                              of this                                                                                                                          hearing.
                                                                                                                                                               hearing.-
                                                                                                                                                               ~                                                                           4                  1   +4                                                             *
   4
   *• You miss work
               work without permission; or,‘
                                           »or,                    r
                                                                   ‘                                                     .                                     In some cases, ICE
                                                                                                                                                                               ICE may   be able to escort you to
                                                                                                                                                                                    may be                     to thethe                   é
                                                                                                   —                     >
                                                                                                                                                                     1                    a                        ‘     4
   •* ~~
   o
                                     .      4
      You do not do your work.. satisfactorily.
                               4                           4
                                                               1                                                                                               court hearing, or arrange
                                                                                                                                                                                 arrange for your participation through
                                                                                                                                                                                        ,                      tl throughl a
                                                                                                                                                               video conferencing system.
                                                                                                                                                                           )
                                                                                                                                                                                  system.
                                                                                               .                                    -                          =
   Will    get paid for
   Will II get                                                 clean?”
                                                                                                            ae
                           keepinga] my living
                      for keeping               living>; area clean?                   =
                                                                                                    5
                                                                                                                                                               Requests to Marry
                                                                                                                                                               Requests                  l\tfarry
                                                                                                                                                               If
       7                                           +
   No, you must,
                                   that you use clean,,including
                          areas;that
             must keep areas        7   ‘                *        ~*
                                                                         ;                 ;
                                                                                                                                                                   you want to
                                                                                                                                                               If you                  get married| while
                                                                                                                                                                                   to get                 aca
                                                                                                                                                                                                               : you areare at the 1
                                                                                                                                                                                                                                  ab
                                                                                                                                                                                                                                  the     °      1
                                                                                                                                                                                                                                        3 facility,
                                                                                                                                                                                                                                          facility,                                               monn,       - 4

                                              a             “4                                                                                  7
                                                                                                                                                                                   ct          )                            i                      4
                                                                                                                                                                                                                                                                                                                                                 >


   your living area andand any general use
                                   2
                                                use areas that you use.use.                                                                                    you (or your lawyer) lawyer) must                  written request to the
                                                                                                                                                                                                        send a written
                                                                                                                                                                                                 must send
                                                                                                                                                                                                                                                                       1


                                             4                  1    4                                                                                         +                       an                   aa         -         |
   If
   If you do not
                           a                   4
               not keep your areas clean,>you may          may be disci-                                                                                       housing3: area officer
                                                                                                                                                               housing               officercror ICE‘ officer,
                                                                                                                                                                                                         officer, who will  will give -
                                                                                                                                                                                                                                             . it to
                                                                                                                                                                                                                                             ;
           1           4                                                                                                                                             Nae            .                               rap          os
   plined.                                                                                                                                                                        administrator or the
                                                                                                                                                               the facility administrator
                                                                                                                                                               the                                       the ICE      field office
                                                                                                                                                                                                               ICEhfield       office; director.
                                                                                                                                                                                                                                           director.
   ~                             4        tA         1       + 4                                                                                               —                                             a      1
      is up to you to know the
   It is       ‘
               »                the rules
                                      rules5 for the work‘ program.                                                                                            Your writtentl request must confirmt that:          that:
    ae
   Also see         facility's >tlocal+. rules.
          see your facility’s                4
                                           rules.  o                                                                                                           ~o77
                                                                                                                                                               *•   You meet
                                                                                                                                                                          meet the
                                                                                                                                                                                      a4legal requirements“43 to marry;>
                                                                                                                                                                                    the; legal
                                                                                                                                                                                                                                                  1



                                                                                                                                                                    ~~                      a                                        1
                                                                                                                                                                    You are mentally, competent to marry; and,
                                                                                                                                                                               oe
                                                                                                                                                               *•                                                              and,
                                                                                                                                                               «
                                                                                                                                                                                                                                                                                                          ,                 ?

                                                                                                                                                                    —       e                        1             oa          4
                                                                                                                                                               *•
                                                                                                                                                               «
                                                                                                                                                                    Your future. spouse will certify they will             will marry you.
                                                                                                                                                                a      teeta?                             ‘        I                 eo
                                                                                                                                                               Attach a separate document    document (signed
                                                                                                                                                                                                          (signed by your future
                                                                                                                                                                           at                                4           _                                4

                                                                                                                                                               spouse) that says they
                                                                                                                                                                                   )
                                                                                                                                                                                            they plan to marry
                                                                                                                                                                                                             marry you.
                                                                                                                                                                                                                      you.                qi
                                                                                                                                                                                                                                                                                        T


                                                                                                                                                               me                 “4                                   4             1         .
                                                                                                                                                               The facility’s         administrator may
                                                                                                                                                                      facility's administrator           may need to send
                                                                                                                                                                                                                     '        send your re-                                                                             u

                                                                                                                                                                             .        onto                +            a                     1
                                                                                                                                                               quest to thethe ICE field         office director, for approval.
                                                                                                                                                                                           field office                      approval.
                                                                                                                                                               If  you do not get approval in time, you may have to
                                                                                                                                                               If you
                                                                                                                                                               delay or cancel any wedding     wedding plans. If     If your request is
                                                                                                                                                                                                        representative7>willlt:
                                                                                                                                                                 1      1               4        1                       :          “y 4
                                                                                                                                                               denied, you and your: legal       legall representative                   be’ pro-
                                                                                                                                                                                                                                        be
                                                                                                                                                                   1 l        a4 *                      aa                  a      .       *
                                                                                                                                                               vided with the
                                                                                                                                                               vided             the decision and the reasons for the             the decision
                                                                                                                                                               In
                                                                                                                                                               in writing.
                                                                                                                                                                   writing.
                                                                                                                                                               eea,                                                                   8        0a                              *

   Library?
   —    nao        4     a4              1               1                                                                     oe
                                                                                                                                                               Dress and Grooming
                                                                                                                                                               Dress     C:irooming              1
                                                                                                                                                                                                                                                                                                  \

                         library] materials5 similar to what you
   Most facilities have library                                                                                                                                ~~
                                                                                                                                                               Uniforms
                                               ,                                                                                                                               o
      aan
   would find
                 .     4
         findLyat aa school
                           |               r aca
                     school or community library.
                                             library.
                                                                                                                                                               1Jnifonns‘*
                                                                                                                                                               —-                        |                                                a               sa                       .,                 «4,                   )       *
                                                                                                                                                               You will
                                                                                                                                                                    willl get
                                                                                                                                                                          get a. uniform (shirt,
                                                                                                                                                                              a                               shoes)| and wrist-
                                                                                                                                                                                          (shirt,DLpants’ and shoes)
                                                                                                                                                               1          _
                                                                                                                                                                   toe rane    eR A     1            not        4~

                                                                                   »           8           ry                                                  band. In ICE ERO and contract facilities,>but
                                                                                                                                                               band.                                                not in most
                                                                                                                                                                                                                but not    most                                                         “at                         ’



   How are
       are. the materials, chosen?                                                                                                                                  1          1           1,        .       1 1
                                                                                                                                                               jails,? the color depends on your security level:   1          1
   —                 fe                                                7               -           *             >            +                       *        jails,      the color depends’ on your security level:
   The facility
       facilityr considers the detainees' needs,, interests, and
                           the detainees’                    and                                                                                                      _:                     a                   +                                    *
                                                                                                                                                                       for. low, custody;
                                                                                                                                                               °• Blue for
                                                                               ,

       tocar                       4                   4                   .                                         1                                                           custody;>
                           on its materials.
   abilities when deciding on
                           «
                           3                                                                                                                                          nm                                 a                                1                        1                    1
                                                                                                                                                               a
                                                                                                                                                               *• Orange. for medium custody; and,
                                                                                                                                                                                              and,
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                                                                                                                                                                  woot
                                                                                                                                                                \ Red for* 4  1       1
                                                                                                                                                               *•     for high custody.
                                                                                                                                                                                custody.
                                                                                                                                                               o

   Can I go to
   Can          the library, at any time?
             to the                   time?9%
                                            >
   ~~            a.       .‘1   +   1 ‘ matt
                                                                                                                                                                                                                 If
                     a
   No, see your facility’s                  library,T use.
                                  rules for library
                 facility's>local rules               use.                                                                                                                                                       If youi are inI a jail,
                                                                                                                                                                                                                         are In             a
                                                                                                                                                                                                                                   jail, ; the
                                                                                                                                                                                                                                           the     -
                                                                                                                                                                                                                                               uniform
                                                                                                                                                                                                                                               uniform i
   _                               ee     soa aan
                                               .       ae      4                   :                                                                                                                                     .              °      %
          facility's2 library has
   Each facility’s                  a schedule for using; and
                                hasrot
                                    a          >                                                                                                                                                                               colors >and
                                                                                                                                                                                                                               colors  and| rules $ about
                                                                                                                                                                                                                                                    about E
                              1                                                                                                                                                                                                  -           *     a wom
                                                                                                                                                                                                                             uniforms may
       1           q
   checking out materials.     r
                               >
                                                                                                                                                                                                                             uniforms  : may  be different..
                                                                                                                                                                                                                                                 different.
   wet                    .    .          4    1       aad
   Please give
            .     other detaineesro|   a chance; to
                                       ‘
                                       a
                                       ,                 libraryi ma-
                                                 to read library                                                                                               ~~                                        4                                                1        4                        a                  a
         + aes
   terials. Make
                            4
                           that you:
                    sure that
             Make sure                     x
                                           ¥
                                                                   1
                                                                   :
                                                                                                                                                               You must always wear the: color uniform for your
                                                                                                                                                                               wear the
                                                                                                                                                                                         1                           *
          1                                   + 4            5                                                                                                 security level.
    , Take    care of
               reo
   *•
   2
       Take care    of the s
                           ‘ materials you check out; and,
                        the materials      s
                                           ‘              and,                                                                          >                      —                                                 -—<              «                           -                                                                         nm


       ™                                                                                                                                                       Exception: KitchenLworkers) must wear aabwhite
                                                                                                                                                                                                        white2 uniform,
                                                                                                                                                                                                               uniform,
       Return them
                them on time.
   «                                   a               i                                                                                                                                                 ,                                                                                                                                           >
   *•                                                                                                                                                          s                   tT,               1                                     Boia
                                                                                                                                                               but only
                                                                                                                                                               but only when on
                                                                                                                                                                             on duty.
                                                                                                                                                                                duty.
                           *                               4
   Attending other (non-immigration)
   Attending       (non-immigration) court
   2

   hearings
   hearingrs
         ,.
   Can I attend aa court hearing that
   Can                             that has  been scheduled
                                         has been
   for me in another case            related to my immi-
                           (i.e. not related
                      case (i.e.
   gration
   gration case)?
           case)?
                                   + 4s
   If                                       a              1
   If you have a court hearing?: scheduled| for you in anoth-
                                                                                                                             aoe
   er      (for example, if
   er case (for            on
                         if you are   currently7 involved in aaL
                                 are; currently                                                                                     4       ‘

                             wo
   criminal proceeding or child
                            child custody
                                  custody
                                         ‘       \
                                            case),
                                            case),
                                                       1
                                                     ask
                                                   , ask your ~-m
                                                              ICE‘                                     1         T




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   15                                                                                                                                               U.S. Immigration
                                                                                                                                                    U.S. Immigration i and| Customs
                                                                                                                                                                            Customs3 Enforcement
                                                                                                                                                                                     Enforcement                                                                   -• National
                                                                                                                                                                                                                                                                      Nationali Detainee
                                                                                                                                                                                                                                                                                Detainee3 Handbook

                                                                                                                                                                                                                                                                  3 Supp. App. 159
Confidential
Confidential                                                                                                                                                                                                                                                                                          GEO-MEN 00141683
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                                                                                                                                                                                                                                     What
                                                                                                                                                                                                                                     What if I need
                                                                                                                                                                                                                                               need shampoo or other personal
                                                                                                                                                                                                                                                                        personal items?
                                                                                                                                                                                                                                                                                 items?
                                                                                                                                                                                                                                     You will
                                                                                                                                                                                                                                         will get                    items when you arrive,
                                                                                                                                                                                                                                                                care items
                                                                                                                                                                                                                                              get some personal care
                                                                                                                                                                                                                                     including:
                                                                                                                                                                                                                                     including:
                                                                                                                                                                                                                                                a“4                                                   4
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                                                                                                                                                                                                                                     • Shampoo _       and
                                                                                                                                                                                                                                                       and soap;
                                                                                                                                                                                                                                                            soap;>                                                          _>?
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                                                                                                                                                                                                                                     • Toothpaste anda a toothbrush:
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                                                                                                                                                                                                                                                                toothbrush;
                                                                                                                                                                                                                                             5             a,
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                                                                                                                                                                                                                                     • Comb
                                                                                                                                                                                                                                        Comb     or 4brush:
                                                                                                                                                                                                                                                      brush;      1
                                                                                                                                                                                                                                                             : and,:   ,


                                                                                                                                                                                                                                     ¢
                                                                                                                                                                                                                                        naa
                                                                                                                                                                                                                                     • Other  ite
                                                                                                                                                                                                                                                items for personal care.
                                                                                                                                                                                                                                                                        .LoJooscare.                 oc




                                                                                                                                                                                                                                                              a:
                                                                                                                                                                                                                                     If         out of
                                                                                                                                                                                                                                     If you run out of these things,
                                                                                                                                                                                                                                                             things,
                                                                                                                                                                                                                                                                  :  ask your housing officer
                                                                                                                                                                                                                                                                                      officer
                                                                                                                                                                                                                                                                                                              “41
                                                                                                                                                                                                                                                                                                                                            -       >
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                                                                                                                                                                                                                                         more.: Women can ask the housing} officer
                                                                                                                                                                                                                                     for more.                                 officer. for femi-
                                                                                                                                                                                                                                                                                            femi-                                               the'
                                                                                                                                                                                                                                       .    *   .         1       «       1.4‘
                                                                                                                                                                                                                                     nine:. hygiene:. products,‘ when needed.
                                                                                                                                                                                                                                     nine
                                                                                                                                                                                                                                     on                                    >
                                                                                                                                                                                                                                     Grooming}
                                                                                                                                                                                                                                     ~                   a                 .                              4                             .                   aoa.                                          1                          1               aa                    4
                                                                                                                                                                                                                                     Poor hygiene.: and unsanitaryr habits‘; can harm
                                                                                                                                                                                                                                                                                 harml healthl and
                 .           .       |         .       : x                        9                                           .           .                      }                                                                     eo.‘      -   a   *
   Are there             other
                         other          rules about   about             oe
                                                                       clothes?
                                                                      clothes?                                                                                                                                                              at. the
                                                                                                                                                                                                                                     safety at  the facility.
                                                                                                                                                                                                                                                    facility.
         ~                           1             ae           '                                                                                                                                                                    77
                                                                                                                                                                                                                                     You must:
                                                                                                                                                                                                                                     _——
   Yes,>you must also follow these’ rules:
                                                                           a               ~                              1                    +                                                                                                                               .
   ~~

   Yes,                                                                    rules:                                                                                                                                                        must:.
                                 a                Parr                                                                                                                                                                                          wr                                                   an
   ,*•, No
           -- ~
                    torn or dirty          ;
                                dirty- clothing;
                                               clothing;      _?>
                                                                  .
                                                                                                                                                                                                                                     :*•‘       Keep) vourself
                                                                                                                                                                                                                                                Keep                and| clean;, and,
                                                                                                                                                                                                                                                      yourself neat and                                                      :                          4                                    4

                                                                                       on                                                                                                                                                        ae                                                                                                             aoa1
                                        :. or re-purposes: your. uniformti if
              -—           ‘                   ‘                                                                                                                                                       .                                                                                              .                                     oo,                                          ‘                1   4
           Do                                                                                     issued1                                                                                                                            e
                                                                                                                                                                                                                                     • Always‘ wear appropriate clothes
                                                                                                                                                                                                                                                                clothes; and shoes..
                                                                                                                                                                                                                                                                         and shoes.
    **•’
             co
                    not  change                                                                if issued
                                                                                                   a1                                                                                                                                                a      -                                                                                     a
                                                                                                                                                                                                                                     If
            ’      7
                   ne                 .                  ”      ”  7          _ 4  4                                               .          wot                                      4                            a                                              4                       .     4                  ot a            48                              4                                 .           .                 4            .
                                      3 do not wear your shirt as a                           headband or
           (for
                                                                                                                                                                                                                                     _-
            (for examples
                      examples
                             -
                                                                                           aL headband                                                                                                                               If you do not obey the
                                                                                                                                                                                                                                                        the dress
                                                                                                                                                                                                                                                            dress>and grooming rules:
                                                                                                                                                                                                                                                                               rules::                                                                                                                         ,
                4l                            ‘ ;
                                                   to make, them| short);
                        1                                      1 , 4             1      x                                                                                                                                                    ..          me                           te
           roll. up long pants
           roll                    pants. to                       mo
                                                                                short);>                                                                                                                                             • It could cause
                                                                                                                                                                                                                                     *          cause conflicts with others at the
                                                                                                                                                                                                                                                                                   *
                                                                                                                                                                                                                                                                               the facility; and,
                                                                                                                                                                                                                                                                                          a) and,         ‘
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     ‘•oa ~~
           No       Teg
                    Foy
                    hats  or   *1
                                head       -1 coverings,    .              *,
                                                                        unless     it is part of
                                                                                 oot
                                                                                               of your°                                                                                                                                         os
                                                                                                                                                                                                                                                as                   *                                                                  *                   a4               ooas
     *                                    , ‘
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                                                                                                                                                                                                                                     • The staff   may
                                                                                                                                                                                                                                                   may counsel and discipline
                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                              ‘ you.                                                                                                                  ,

                    *     tA                     4    _4                             as    1    a     aoe                                                                                                                                                               -       -
           work uniform or has been approved by the
           work       i                               :                                   the chaplain    L                                                                                                                          re~ noe a      “]‘|        4  .       . aes     \  a.
            - . aes               /                               1                                                                                                                                                                  The facility will
                                                                                                                                                                                                                                                   will accommodate; your religiousy prefer-         L
                                  ‘                                                                                                                                                                                                         1
           for religious reasons; and,                      and,       »                                                          5
                                                                                                                                                                                                                                     ences about your grooming.
                                                                                                                                                                                                                                                      grooming.
                                                                                                                                                                                                                                                         1
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                                                                                                                                                                                                                                                                   7                   ‘                  .                             .
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     a     “+         4                                .             1    *       :
           No shower shoes          1           ‘             a                                                                                                                   on

     *•                          shoes’ outside    outside      ? the
                                                                    the   housing: unit..
   a                                                       ,               1           ‘                             ty,




       ~ -              ,           ~              .                                                                                                                                                                                 Can
                                                                                                                                                                                                                                         _~
                                                                                                                                                                                                                                     Can I wear my hair
                                                                                                                                                                                                                                                         7
                                                                                                                                                                                                                                                     hair any way I want?
                                                                                                                                                                                                                                                                        want?
                                                                                                                                                                                                                                                                                                          ss,           -                                           ~                            >

   Other rules:
         rules:                                                                                                                                                                                                                       7
                                                                                                                                                                                                                                                           - hairstyle' you want‘ if
                                                   °                                                                                                                                                                                               4         ao     4           .    soe      o
               ~~                                                  *                                                                                        4                      on                          vas                   Yes,> you may
                                                                                                                                                                                                                                     Yes,      may have: any          .
                                                                                                                                                                                                                                                                                  if it is safe
                                                                                                                                                                                                                                                                                           safea;
   ~
   *    • You must always wear. your- complete.2 uniform (shirt,                                                                                                                                                                     and clean.
                                                                                                                                                                                                                                         clean.:
                                                                                                                                                                                                                                                *1       4
                  ’         1 ot         x
           pants.} and shoes);,
           pants                                                                                                                                                                                                                     _.
                                                                                                                                                                                                                                     Exception: If
                                                                                                                                                                                                                                             .                a      +  ae *                ’
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           -
                     ca                                         ..
                                                                                                                                                                                                                                                  If you work       the kitchen or operate
                                                                                                                                                                                                                                                          work.x in the               operate
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            Outside:: of
                                           1        .
   **•
               nn
           Outside              yourchousing
                            of your        housingf5 unit;   unit;;:                                                                                                                                                                  1?           aoe tot,   1    +        1:      ao:
           ~     *       ae
                                                                                                                                                                                                                                     chine,; your. hair must      cleanlLand in aa. hairnet.:
                                                                                                                                                                                                                                                        must: be clean
    *•
    «
           In the       dining5> room;,
                the dining
       5       7            *             1                                                                                           «            "|                <=                                                                     /

           Medical
           TTY]
           Medical appointmentspO                                    yttold otherwise);
                                                       , (unless’ told
                                                                                             .                                                                                                                                       ~                         .                                 7                                                                  7
                                                                                                                     ao


    *•                                                                         otherwise);
                          Pe                                                                                                                                                                                                         Can oT          beardI1or mustache?%.
   a

                                                                            I                                                                                                                                                        Can II have\ aa beard
                                                                                                                                                                                                                                                         ‘Ty


               mn                    ‘
   e
    *
    *•     Going, to court;                                                                                                                                                                                                          xy     1   x        ar    ow late 4 i          4 es
                   :          aoe                    .              4
                                                                                                                                                                                                                                     Yes, unless
                                                                                                                                                                                                                                     Yes,       > you work
                                                                                                                                                                                                                                                      workx in the, kitchen or operate' a ma-

    **• ™  During2r religious‘>services;, and                                                                                                                                                                                             ae
           During                                                                                                                                                                                                                    chine.:
            ‘rn   .
     “
     *•     Seeing
                            sos
            Seeing: visitors.                                                                                                                                                                                                        _                         a                                                        aeoo4“                                      *                                 1       4               .                      .
                                     3                                                                                                                                                                                               For safetyr reasons, kitchen workers' and detaineesi oper-
                                                                                                                                                                                                                                                                       .                                            >                                                                '                                                               ,         _

              4         a          cous‘        *                        te                                                                                                                                                             :          1°            4    *        «          aoa1       a. _
                                                  of
                                                                                   1           ‘
                                                                                                                                                                                                                                                                                                    duty.TOBy
            wit                                                                                                                                                      dt                            tas
                     2 the                        of your>pants                        - neither    your>
     *•     Place      the    waistband                                       so) that                                                                                                                                               ating machines\ must be clean-shaven1 while        while2 on duty.
                    '                                                                                                                                                                                                                                                  .
   a     ,
           Place                                                           mmo
                                                                             so
                                                                                                                                                                                                                                                                                                   1 -
                                4                                                                                                                       ’                                                                                                                                        '                                                                                           L                        7                                        .

                 1       to at   .           toa.         1,. 4                                                                                                                                                                           ~ .          sae .\          .                 :
                                                                                                                                                                                                                                                              the kitchenL or operating
                                                                                                                                                                                                                                                ae a .jobD in the
                                                                                                                                                                                                                                                                                                                                 noel

           underclothes3 nor buttocks’ show;,                                                                                                                                                                                        accepting
                                                                                                                                                                                                                                           _-                                      -.       3 machinery,>
                                                                                                                                                                                                                                                                                            a)
           _~                                                                      cot                                                                                                                                                                  ~ et1
     .*•.  Do not 1keep}your.7hands                     4       4
                                                            under
                                                          3 under
                                                                        4
                                                                       the    waistband     4
                                                                                               of your.
                                                                                              of
                                                                                                                                                                                                                                                                ave,
                                                                                                                                                                                                                                     you agree to follow this' rule.
                                                                                                                                                                                                                                                                         %
                                                                                                                                                                                                                                                                     rule.   .
                                             4            at            1                                                                                                                                                            roH                                  at     ‘          ae        ‘
           pants,, even in cold weather;5 and,
                            4                                          *                                                                       1                                                                                                                                                                        .                                               4                                                                            1
                                                                                                                                                                                                                                              are,: no: exceptions‘, to the‘' rule:: regarding
                                                                                           at                                                                                                                                                                                                                                                                                                                                        aoe
                                                                   and,>                                                                                                                                                             Therea; are                                       -       3r kitchen      _


      **• -e                                                  to your* underclothes)4if
                                 ”           .    “                              4     a4 4                                                                                                                                                      *oe                   1                                  . 7.                          7                                                        -                        -
           You may   may only only7 strip down to                                                if you                                                                                                                              work              a, machines..
                                                                                                                                                                                                                                     workx and operating
                                                                                                                                                                                                                                                _
                                                                                                                                                                                                                                                        i

           are in your cell or the
           are                                 the bathroom.
                                                                                                                                                                                                                                     ~                             2                       5',
    as                                   R»oOo6
                                             os                                                                                                                                                                                      Can 7_TTI. shave?
                                                                                                                                                                                                                                     Can        shave?’
   Personal
    Personal Care\                                                                                                                                                                                                                   ur           . 1                4     tay               4-..7*7
   ~y       ph     aes    .      4  .,           + o4 a4     .                                                                                                                                                                       Yes,; you can
                                                                                                                                                                                                                                     Yes,
                                                                                                                                                                                                                                                       1.
                                                                                                                                                                                                                                               can1check
                                                                                                                                                                                                                                                   check   out ~aa: disposable
                                                                                                                                                                                                                                                         . out                  razor. every day.
                                                                                                                                                                                                                                                                              ; razor        day. You
   You willL be    livingpo
                be living in aa dormitory or aa1 locked housing)
                                    io
                                                                               r
                                                                                                    ~                                                   ~
                                                                                                                                                                                                                                                     Cw
                                                                                                                                                                                                                                     must return it after you shave.
                                                                                                                                                                                                                                                              shave.                                                                        1
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                                                                                                                                                                                                                                                                                                     om
           ed‘    1             -                           1
   unitt with
   unit
           .
               Lother people.. Good personal hygiene: helpsi
                                              a1                                            1                   oa            a                             \*            .                        1       a    ‘                                    “

                                                                                                                                                                                                                                                                         nota
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   1                   1  aa
   keep') everyone,4 healthy.1
                       healthy.                                                                                                                                                                                                      If     4               *   .
                                                                                                                                                                                                                                        you have:mLaa court hearing,
                                                                                                                                                                                                                                     If you
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                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                             oe
                                                                                                                                                                                                                                                                     the facility- r will| give
                                                                                                                                                                                                                                                                  - the                         you the
                                                                                                                                                                                                                                                                                                    the                                         ~
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                                                                                                                                                                                                                                                                                                                                                                                                              seq
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                                                               ,                                        .                                                                                                                                                                  .                         a                      4           ~
                                                                                                                                                                                                                                     opportunity7to shave: before: you
                                                                                                                                                                                                                                                                   you go.
                                                                                                                                                                                                                                                                       go.
                                                                                                                                                                                                                                     --                                                          a                                                                      oo                                                    4                  as

                                                                                                                                                                                                                                     a
                                                                                                                                                                                                                                     You may   not share. ;your. razor with anyone
                                                                                                                                                                                                                                          may not                                   2 else.. This
                                                                                                                                                                                                                                                                            anyone                 is‘
                                                                                                                                                                                                                                                                                                                    tones
                                                                                                                                                                                                                                                                                              *
   —— we                                       T               .                                4;                                                                                                                                                                            ;     ? else.        is
                                                                                                                                                                                                                                                                                                  yoy
   Wheni can
   When  can IL shower?                                                                                                                                                                                                                      cts a4                  '    1                     : 1
       nm  14
   Check the
                      4
                               schedule:posted1in your. housing, unit.
                                 4
               the shower schedule
                                     . 4          :       1        :        .                                                                                                                                                        for your healthL and safety.
                                                                                                                                                                                                                                               : ‘
                                                                                                                                                                                                                                                 as, HIV
                                                                                                                                                                                                                                                           safety.
                                                                                                                                                                                                                                                              \" 4     eon ‘
                                                                                                                                                                                                                                                                                   canL spread dis-
                                                                                                                                                                                                                                                                    Shared razors: can
                                                                                                                                                                                                                                                                  - Shared
                                                                                                                                                                                                                                                                                               sa      *                                                                                                              ales
                                                                                                                                                                                                                                                14   HIV and
                                                                                                                                                                                                                                                         andl hepatitis. See        :
                                                                                                                                                                                                                                                                         See, your facility’s   x
                                                                                                                                                                                                                                                                                   facility's’ local
                                                                                                                              ~                                                                                                      eases, such as
         tty. 41
   ~
   It                        1                 1    1
        willltltellL you when you can use the: shower each
                                                            .
                                                               each1 l day.
                                                                       o4
                                                                       day. :
                                                                                                                                          at

                                                                                                                                                                                                                                     rules‘ about razors.
                                                                                                                                                                                                                                                  razors.
                                                                                                                                                                                                                                                     ,                                                          .
   «Fr-                 at :     '  ) ,  qi 4         . y    :   1                              a           a                     ad                                 a        .                4
   You
   ‘You   must      bathe  ; regularly  and keep, your  hair   clean.
                                                               clean..


           ~                                                                                                                                                                                                         beam   on   .          o                          4~                  oo             . me                                          .               Beah                 og 3         mee                                .   an                o           2
   16
   16                                                                                                                                                                                                                U.S.
                                                                                                                                                                                                                     U.S.  Immigration i and| Customs
                                                                                                                                                                                                                         . Immigration        Customs3 Enforcement
                                                                                                                                                                                                                                                       Enforcement‘                                                                                             -• National
                                                                                                                                                                                                                                                                                                                                                                   Nationali Detainee
                                                                                                                                                                                                                                                                                                                                                                             Detainee3 Handbook

                                                                                                                                                                                                                                                                                                                                                        3 Supp. App. 160
Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                          GEO-MEN 00141684
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                                                                                   166 19
                                                                                        Sealed
   Can II get aa haircut?
   Yes, if
   Yes,  if you
            you want aa haircut, you must ask for it. See
                                                       See your
   facility’s       rules about how to
   facility's local rules            to ask for aa haircut.
   Important! [tis
              It is up to
                       to you to learn the grooming rules
                                 learn the          rules
   for your facility.
            facility. See your facility’s
                      See your facility's local rules.
                                                rules.

   Laundry
   Laundry
   To get
   To get clean                   tum in
          clean clothes, you must turn        dirty item of
                                       in one dirty      of
   clothing to get
   clothing    get aa clean one.
                            one.
   At
   At aa minimum,
         minimum, you will be    be able to exchange your items
   according to the following schedule:
                                    schedule:
       Socks and underwear —
   •* Socks                       - every
                                    every day;
   *• Your
      Your colored     uniform —
             colored uniform      - twice every week;
                                                   week;
   *•  Sheets, pillowcases, and towels —        once every week;
                                              - once          week;
       and,
      and,
   *•          kitchen uniforms —
      White kitchen                  - every day.
                                               day.                          Do not         sheets, blankets, towels or anything else
                                                                                 not hang sheets,                                else
    See
   See  your  facility’s
              facility's  local  rules  about  volunteer worker              from  wires, lights,
                                                                             from wires,                bars or other objects.
                                                                                          lights, beds, bars          objects. Follow
   uniforms.                                                                 your facility’s
                                                                             your            rules for hanging wet
                                                                                  facility's rules             wet towels.
                                                                                                                   towels.
   At some facilities,
   At        facilities, you maymay be    able to exchange
                                      be able     exchange your
                                                              your
                    frequently. Check vour
   laundry more frequently.                your facility’s
                                                 facility's local
                                                            local                  can I keep my personal
                                                                             Where can           personal belongings?
   rules.                                                                    You
                                                                             You must follow the
                                                                                              the facility’s rules about storing your
                                                                                                  facility's rules
   To make sure
   To         sure there
                    there are
                           are enough
                                enough clean clothes
                                                 clothes for every-          personal
                                                                             personal things. Someone    from the facility will show
                                                                                                         from                   show
   one, you may not keep
   one,                         extra clothes.
                         keep extra    clothes.                              you what to
                                                                                       to do.
                                                                                          do.
   Do not wash
            wash clothes,
                   clothes, sheets,    shoes or other things in
                              sheets, shoes                                          put anything where it is
                                                                             Do not put                    is not allowed to be, such
                                                                                                                                 such
   your housing unit
                   unit unless there are are washing machines and               on or in:
                                                                             as on    m:
   dryers that you are
   dryers                  allowed to
                      are allowed    to use.  See your facility’s
                                         use. See        facility's          e
                                                                             • Windows or windowsills:
                                                                                            windowsills;
   local rules.                                                              ¢
                                                                             • Bunks;
                                                                             ¢
                                                                             • Lockers; or,
                                                                                        or,
                                                                             • Under a mattress, etcetera.
                                                                             *                       etcetera.
                                                                              [mproperly stored
                                                                             Improperly           items may
                                                                                           stored items  may bebe taken away. If
                                                                                                                  taken away.  If this hap-
                                                                             pens,
                                                                             pens, it is
                                                                                      is up to you  to ask the
                                                                                                       ask the  supervisor to return them
                                                                                                                           to return
                                                                                you.
                                                                             to you.


                                                                              Rules and Procedures
                                                                             Head
                                                                              Head counts
                                                                             Detainees will
                                                                                          will be
                                                                                               be counted at least  three times per
                                                                                                             least three          per day at
                                                                             hours that do not
                                                                             hours           not interfere with daily
                                                                                                                 daily activities.
                                                                             You must participate in
                                                                             ‘You                    in the counts and follow the the facili-
                                                                                  rules for
                                                                             ty's rules
                                                                             ty’s        for head counts.  See your facility’s
                                                                                                   counts. See        facility's local rules.
                                                                             During the
                                                                             During   the head counts,
                                                                                                 counts, do
                                                                                                         do not:
                                                                                                            not:
                                                                             *•  Move;
                                                                                 Move:
   Aciean
   A clean facility
           faci1ity
                                                                             ©• Talk:
                                                                                 Talk; or,
                                                                                        or,
   For your safety and health, it is
                                  is important to
                                               to keep the
   facility clean.
            clean.                                                           ¢• Do anything
                                                                                     anything to interfere with the
                                                                                                                  the head
                                                                                                                       head count.
                                                                                                                             count.

                            "y                                               You
                                                                             You may be disciplined
                                                                                           disciplined (and   everyone; in
                                                                                                         (and everyone  in your housing>
   Do II have to make my bed?
                         bed?
                                                                                                      their room) if
                                                                                       1   + 1   4     1         x
   ~7                  ty,      a   4       a   4   .    .    4     4        unit      be locked in their
                                                                             unitt may be                          if you:
                                                                                                                      you:
   Yes,>you must make, your bed every day before
   Yes,                                          before, you start                                  4
         ao              \         Pi                                        *•
                                                                             a
                                                                                Do not get
                                                                                         get
                                                                                         -   counted;
                                                                                             counted;;
   your daily  activities’ or work.
        daily activities
   =r          1    1          .        '      1    ‘                        • Do not follow instructions; or,
                                                                             =
                                                                             *                             or,
   You        also, keep' your area
   You must also                      cleanl and
                                 area clean  and neat.                         _      bo 4     *
                                                                             ¢ Disrupt the head count.
                                                                             • Disrupt           count.

   a?
   17
    ™                                                             yen
                                                                  U.S.
                                                                  U.S.. 8   .   7
                                                                        Immigration
                                                                        Immigration        ~ os
                                                                                           Customs
                                                                                    i and| Customs27
                                                                                                  3 Enforcement> -•
                                                                                                    Enforcement       Bs.       res.
                                                                                                                      Nationali Detainee
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                                                                                                                                Detainee3 Handbook
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Confidential                                                                                                                  GEO-MEN 00141685
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                                                                                       167 20
                                                                                            Sealed                                                                                                                                                                                                                                                                                                     oof
   Authorized property and contraband               ¢
                                                    • When you arrive at the
                                                                         the facility;
                                                                                 .
                                                                                                                                 r
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                   root
                                                                                                                                                                                                                                                                                                                                                                   ‘
                                                                                                                                                                                                                                                                                                                                                                                                                                   ‘
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                                                                                                                                                                                                                                                                                  ¢
                                                                                               : 7a                          .                                                                .                    .”                                                                                                  ada              at
                                                                                                                                                                                 os
                                                                                                                                                                                                                                                                                                            is reasonable:‘ suspicion
                                                                                                                                                                                                                                                                                            Whenever thereLoa                        L that-: you
   re                                     z                                           :                                                      a                                                                                                                                                              .                    . .
    oe
   Does‘3 all} property
   Does all property have to be authorized?                                                              have to be. authorized?                                                                                                                                                   • Whenever there is reasonable suspicion that you are
                                                                                                                                                                                                                                                                                            ~~
                                                                                                                                                                                                                                                                                                           mo
                                                                                                                                                                                                                                                                                                                               -              -   are
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       4a




                                                                                                                                                                                                                                                                                                  a           1
   ~y          oe                440                                      oo           4                                                                                                                                                                                             concealing contraband or a weapon;
                                                                                                                                                                                                                                                                                            concealing contraband|    a. weapon;,
   Yes, visitors‘ and
   Yes,                     and detainees‘ must get
                            >                                      permission to
                                                             get permission
                                                                    y             to have. .                                         ,                               ’                                                                                           ‘                                                                 7                                                                                                             ~

                                                                                                                                                                                                                                                                                     =o
                                                                                                                                                                                                                                                                                                          r,a housing7; unit;
           :                         1     :         : :       “4                                                                                                                                                                                                                                       ,     1    :       : ,
                     even}if                                        allowed1°                                                                                                                                                                                                     ¢
                                                                     a4
   any item, even               if that: item is     is usually. allowed        .
                                                                                  youra
                                                                               at your                                                                                                                                                                                             • When  you go. : into
                                                                                                                                                                                                                                                                                                     into               unit; ;
                                                                                                                                                                                                                                                                                     wwvt              wat .
        eae
       no

   facility.
   facility.   +                                                                                                                                                                                                                                                                  ¢• When you leave                            after: aaL visit;
                                                                                                                                                                                                                                                                                                 leave‘ the‘ visiting» area. after      1
                                                                                                                                                                                                                                                                                                                                          visit;2: and,
                                                                                                                                                                                                                                                                                                                                                   and,>                                   .           wae                                                mo                   _             °         *         1




   mo       na ota
   The facility7 may throwr away
                                    “
                                                away7 any. of  of your. items,> evenL if
                                                                           .,
                                                                                          if
                                                                                                                                                                                                                                                                                     ™”        \
                                                                                                                                                                                                                                                                                  •¢ From time‘ to                               1   44
                                                                                                                                                                                                                                                                                                 to time,> we also' do unscheduled} routine
                                                                                                                                                                                                                                                                                                                 1    1                             . :
   ay                  :          4     1                       aon                                                                                                                                                                                                                                          1
   the   type: of
   the; type           itemLl has beenL approved,5if.
                   of item                                         if:                                                                                                                                                                                                                      searches..
                                                                                                                                                                                                                                                                                            searches.
   .o77 4               .                    .
   •* You
       YouLhave  have; too many;5
       —         1             :         a4                                                                                                                                                                                                                                           ~          T               «                                  =                                      =               —
   ¢• You have. misused them:              them; or,   or,                                                                                                                                                                                                                        Can II refuse1to be. searched?
                                                                                                                                                                                                                                                                                  Can
       --        +            +          a4 . .              14               oe                                                                                                                                                                                                  ~~                                                            a                          *                       aA                                                an                    ,                               1
   *•
   “   You have: changed  . changed. the    thes item without: permission..                                                                                                                                                                                                       No,, you must aliow
                                                                                                                                                                                                                                                                                                  allow the    officerr or officers' to searchLyou.
                                                                                                                                                                                                                                                                                                         the officer                            you.
   a                A             as           1   7      4      .        2   :                                                                                                                                                                                                   -~          4    aA      tea            .        1+          ae    ae

    See:: your. facility’s
   See              facility's3local rules; about: unauthorized
                                                                        tae        as
                                                                   unauthorized items.items..                                                                                                                                                                                     You must-: also, follow their- directions‘, and
                                                                                                                                                                                                                                                                                                                                and- do everything
                                                                                                                                                                                                                                                                                                                                             ;
     .       :       ‘44                    4               cA     oaa            a4      4                                                                                                                                                                                        4  oy
                                                                                                                                                                                                                                                                                       tell you.
   Any item
         .                  -
             item that has not been specifically   :  specifically approved by the
                                                                      7                  the                                                                                                                                                                                      they tell
                                                                                                                                                                                                                                                                                                Ate
    nw ota
   facility. may may count as
                                                 .    4       ‘
                                      as‘a)contraband (not: allowed).
                                                                       a4                                                                                                1                                                aN
                                                                                                                                                                                                                                                                                  If
                                                                                                                                                                                                                                                                                  If you  1
                                                                                                                                                                                                                                                                                     you do            44s           :             :
                                                                                                                                                                                                                                                                                            not follow their. directions,, you can be:
                                                                                                                                                                                                                                                                                            wet                  a                      1
                                                                                                                                                                                                                                                                                  ¢
                                                                                                                                                                                                                                                                                  • Disciplined:
                                                                                                                                                                                                                                                                                    Disciplined; or,
                                                                                                                                                                                                                                                                                                 or,
   What is contraband?                                                                                                                                                                                                                                                            ¢
                                                                                                                                                                                                                                                                                  • Charged with aa crime.
                                                                                                                                                                                                                                                                                                     crime.
    mn                       ’            1                 ae                                          ae                               .               44                           tiat                                                    ’        ~y
               is anything: not allowedL at
   Contraband- is                        at the facility.: You
                                            the facility.  You-                                                                                                                                                     co




   ——                   1     .         .         44:yonnto   °
   are not allowed to have; anything’ unsafe' or that: interferes
   are not allowed to have anything unsafe                             ., or that interferes
                                                                                     *                                                           ae
                                                                                                                                                 1                                                                                                                                ~aae            .a
                                                                                                                                                                                                                                                                                  What: if I refuse
                                                                                                                                                                                                                                                                                             refuseA: to be
                                                                                                                                                                                                                                                                                                         be\ searched?
                                                                                                                                                                                                                                                                                                             searched?
                                                                                                                                                                                                                                                                                                                                   «                                   :                                       -                       .7

      tat              14   uo
   with the orderly operations of
                    7            x  a     : Ota.
                                                                                                                                                                                                                                                                                                                                  wat
   with the orderly operations> the' facility.:       of the facility.                                                                                                                                                                                                            ~~
                                                                                                                                                                                                                                                                                       may 1be moved+ away: from
                                                                                                                                                                                                                                                                                  You may                      8       at
                                                                                                                                                                                                                                                                                                                          . a              4
                                                                                                                                                                                                                                                                                                                     l the: other detainees> and
                                                                                                                                                                                                                                                                                                                                                1
   ~          .       tee        +    .      .   a          “|    1                                                                                                                                                                                                                   soe   ae       ~~ ¢ ae        1               aoa    .   ce
                  _         ; to know the, rules3 for what73
   It isreyour responsibility                               is and.
   It is your responsibility to know the rules for what is and                                                                                                                                                                                                                    put in isolation.. We do this
                                                                                                                                                                                                                                                                                  put                      this; to keep' you and others; safe.
                                                                                                                                                                                                                                                                                                                                             safe.
   .
   is not
   is
               a
       not allowed
            .
                                 at
                                 .
                                 the
                             at the
                                              cae
                                        facility.
                                        facility.      If                    tla
                                                        If you have anything listed                      ,
                                                                                                         a                                       .
                                                                                                                                                                                       4              .
                                                                                                                                                                                                      ‘
                                                                                                                                                                                                                         at
                                                                                                                                                                                                                                                  i:
                                                                                                                                                                                                                                                            1        q


                           ae                                           .t
   1 4
    below7 or anything
   below                             else. not» allowed44
                                     a
                                   , else
                                                               ' by the the      o     cae
                                                                                 facility,
                                                                                 facility,    ' you
                                                                                                                                                     aw
                                                                                                                                                                                                                                                                                  wee                .                             -                     8                     on                              _               ou8                        1                        +
           lose                     1                                                                                                                                                                                                                                             Willll II have
                                                                                                                                                                                                                                                                                            have1: to take  off my clothes'' whenbkI| am
                                                                                                                                                                                                                                                                                                      take: off                        am
   may
   may be disciplined.:                                                          ae
                                                                                                                                                                                                                                                                                          yoy
                                                                                                                                                                                                                                                                                  searched?
                                     a ~ oe oe
     ~
         Lo
                -

                - 4
                           .
   ContrabandI itemsi include, but are not: limitedTo:
                             a4           1
                                                                                      8
                                                                                              to:
                                                                                              to:
                                                                                                  .                                                                                                                ws


                                                                                                                                                                                                                                                                                  If we :have a justified
                                                                                                                                                                                                                                                                                  If we             sm]
                                                                                                                                                                                                                                                                                                    -        reason to
                                                                                                                                                                                                                                                                                                                    to suspect
                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                 _that
                                                                                                                                                                                                                                                                                                                                  that you
                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                             may- :be
                                                                                                                                                                                                                                                                                                                                             may   be
   ¢• Alcohol or illegal     illegalI drugs;;                                                                                                                                                                                                                                     aa
                                                                                                                                                                                                                                                                                  hiding25a weapon
                                                                                                                                                                                                                                                                                  hiding            -   or
                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                           other
                                                                                                                                                                                                                                                                                                                       *
                                                                                                                                                                                                                                                                                                                 contraband,
                                                                                                                                                                                                                                                                                                                 contraband,
                                                                                                                                                                                                                                                                                                                             4
                                                                                                                                                                                                                                                                                                                               >we
                                                                                                                                                                                                                                                                                                                                 we will
                                                                                                                                                                                                                                                                                                                                    will lo.
                                                                                                                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                                                                                                           do a.
                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                 strip
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       --q



   -   ™                       ae,           1      a 7                         1         +                                                                                                                                                                                              +
   *•  Dangerous‘ objects, deadly           deadly       weapons‘ and explosives;.
                                                                             y                                                                                                                    ,                                                              5                search.
                                                                                                                                                                                                                                                                                  search.            .

         :       7         4             <a4              |     .”        :               1
   ¢• Anything4 that.; could be.: used              used to to disguise
                                                                     _         .: or change     oho..a
                                                                                                     a
       detainee’s       ‘        4‘
                                               .
       detainee 's; appearance’ or that couldL be
                    1                     .           at        °
                                                                     \      .
                                                                              used to help
                                                                        be: used                                                                                 ‘                      tad                                   l                   a     7
                                                                                                                                                                                                                                                                                                                                                                       ~                                                                        ae
                                                                                                                                                                                                                                                                                  Will II be  be4searched*
                                                                                                                                                                                                                                                                                                  searched     ] by someonea of the‘ same     samea sex?~
        someone.‘ escape;:: or,         or,,                                                                                                                                                                                                                                      ™     ,
                                                                                                                                                                                                                                                                                                  searchesy (wheni you take your. clothes
                                                                                                                                                                                                                                                                                                         eof       4             _ 4            toa         1 oe
                                                                aa
                                                                                                                                                                                                                                                                                  For
                                                                                                                                                                                                                                                                                  For strip
                                                                                                                                                                                                                                                                                          strip) searches                                                     oft),>
                                                                                                                                                                                                                                                                                                                                                            : off),
                                                                                   } or other
                        .                                                                           oa                                                   a                                    a                                                   a                                                                                                                                                                                                                                                                  .

   *•
   4
       Any camera,>video,: recorder, cell. phones
             ,
                                                                   -
                                                                                           other,                                                                                                                                                                                 we will
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                        will| assign
                                                                                                                                                                                                                                                                                                assignLot
                                                                                                                                                                                                                                                                                                                an         a
                                                                                                                                                                                                                                                                                                               officercof the
                                                                                                                                                                                                                                                                                                         an: officer
                                                                                                                                                                                                                                                                                                        an                        same.: sex.
                                                                                                                                                                                                                                                                                                                             the same           Ifno
                                                                                                                                                                                                                                                                                                                                           sex. If
                                                                                                                                                                                                                                                                                                                                                              An
                                                                                                                                                                                                                                                                                                                                                     no) officer
                                                                                                                                                                                                                                                                                                                                                           officerc
        1    sat                    wad.          4
        device2 that: could be: used to make; photos,> audio
       device
                                                               yy      yot.                  My
                                                                                                 , or
                                                                                                                                                                                                                                                                                                     7     .        “a o44                             4.                                                                                       on


          “4                              a ae                 . oe
                                                                                                                                                                                                                                                                                  of   theyg; same
                                                                                                                                                                                                                                                                                  of the   abe
                                                                                                                                                                                                                                                                                              same’ sex    isoSavailable,, we
                                                                                                                                                                                                                                                                                                      sex is                        will] ensure.‘ either
                                                                                                                                                                                                                                                                                                                              we will                            ss
                                                                                                                                                                                                                                                                                                                                                                that‘
                   recordings of
       video recordings
                 '                    3 of detainees,, staff or government    government:
                                                                                     Pn
                                                                                                                                                                                                                                                                                  at             aor         1   ’
                                                                                                                                                                                                                                                                                  the searchLoois conducted in private: with  .   ’      tat.        ’
                                                                                                                                                                                                                                                                                                                                     with two, staff mem-
                                                                                                                                                                                                                                                                                                                                                          ne
                                                                                                                                                                                                                                                                                                                                                                                                                                                          1

       property.
       property.
       ~     oo.) :                                                                                                                                                                                                                                                               bers‘; present,; or that
                                                                                                                                                                                                                                                                                  a

                                                                                                                                                                                                                                                                                  bers                            someone.; of
                                                                                                                                                                                                                                                                                                          that-: someone     ’
                                                                                                                                                                                                                                                                                                                                of your: sex is is<; with
                                                                                                                                                                                                                                                                                                                                                    ad   v4
                                                                                                                                                                                                                                                                                                                                                             Lyou to
                                                                                                                                                                                                                                                                                                                                                                  4.                                                                                                           .


   ~             1                   + 4                 aoa                 + *                                         ae
   Personal -property,
                   property,
                         -
                                     including>x clothing2r and
                                -? including                          and other -personal|                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                  observe.
   :          :      1                 +      2       +
    items,’: in
   items,    1s            contraband unless:..
              is. also' contraband                                                                                                                                                                                                                                                “ye                «ge                                                 s                                                         4


   *•
   a
       ree      nwo             4
        The‘ facility administrator   ‘
                                       soe,       :    1
                                                        has' approved10          7
                                                                                  them;. or,  or,>                                                   .                   L                                                                                                        Discipline‘ and your rights3
                                                                                                                                                                                                                                                                                  Luscerpline
                                                                                                                                                                                                                                                                                                     —
                                                                                                                                                                                                                                                                                      ™~    a                    4           ae             .        ae                                                                .                             .         oo                       at                 aie
       —                             :              .
   *•
   a
       You bought
                bought the    the: item. or items from
                                              a                        at
                                                                        ae             are
                                                                                      4d     oy
                                                                              facility's3 com-
                                                             fromL the facility’s                   :    4                                   .                               x                                if
                                                                                                                                                                                                                          sae
                                                                                                                                                                                                                                                                                  Order and discipline. are    are. very, important~for. thethe. safety
                                                                                                                                                                                                                                                                                                                                                 safety                ¢             ‘                                                                         ¥                                   ‘                     r



           +
       missary       ;
                       or vending   1 :
                                           machines.4°
                                                                                                                                                                                                                                                                                           aad
                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                  and wellbeing       of the:‘ detainees'\ andaad
                                                                                                                                                                                                                                                                                                    F of
                                                                                                                                                                                                                                                                                                                         .               oo
                                                                                                                                                                                                                                                                                                                                the staff. Some’> prob-
                                                                                                                                                                                                                                                                                                                                 the5
                                                                                                                                                                                                                                                                                                                                    ; staff.: Some       ad                    1     .         .                                                                       ‘                     oe                                  a



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   cl.                                                 o                ttt.                   a4                    |                   1               ,                        a                   a             4                 4                                           lems. canlL be' taken care      of informally with. counseling,
                                                                                                                                                                                                                                                                                                                                          counseling,y
    See: your facility’s
   See              facility's3local rules, about: contraband.:
                    b                             °
                                                                                                                                                                                                                                                                                  *     a,         a4                     :                                                                                                            ae                 ae
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                                                                                                                                                                                                                                                                                      other problems' may require discipline.:
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     Searches‘
   Searches                                                                                                                                                                                                                                                                       All facilities
                                                                                                                                                                                                                                                                                       facilities} follow established
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     wT
   We., search detainees1, to:
   We                                                 1
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   *• Keep everyone‘ safe;    safe; 5
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   ¢ • Control
        ControlI contraband;
                   contraband; and,
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                                      and,                                                      4                4                       4                                                                                                                                           processed quickly;
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        Keep- ) the' facility- ’ clean
   °*• Keep
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                                             sanitary.
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                                                                                                                                                                                                                                                                                     stand and communicate;
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   We. do not do: searches
   We           ‘      searches‘ to to punish anyone.
                                               anyone.                                                           >                                                                                        .
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                                                                                                                                                                                                                                                                                  •* Aids‘ or services‘ that ensures effective‘ communication
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             II be searched?                                                                                                                                                                                                                                                         ‘        :     ,        :
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   We                     - body
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   times:                                                                                                                                                                                                                                                                              “       Y             .      1    144        .                ‘oon
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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                                                                                       GEO-MEN 00141686
            Case 1:14-cv-02887-JLK-MEH Document 310-1 Filed 08/17/20 USDC Colorado Page 22 of
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                                                                                            Sealed
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            that you can understand and that protects>your
                            :                                .                        1
            privacy; and,
            ~         .                                                                                       +3                          *                                                4                       ’                                              .
   ¢ Communicate’. withL other .peopleof
   • Communicate                        and,>or organiza-
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                                              threatenss> safety,:
                                communication threatens
            tions,: unless that communication
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            security or order at the facility.
            security                 facility.
   wre te >                                                                                                   +                                                4             +                                 *                 a           rn
   Whiley in ICE“ custody,
   While          custody,>you also; have
                                     have.’ the
                                            the right-. to:
   *• Protection from    from personal abuse,abuse,’ physical punish-
                                                  .              “                    1
       ment, unnecessary r or excessivea; use:. of          of force,: personal
       os          .                        1              a4                  ‘      1
                  disease,2 property. damage
       injury,> disease,
      injury,                             damage*‘ and   and harassment;.>and,     and,>
      ™       1        c      a     se : 4
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   a
       Freedom       l from
                       from  Ldiscriminationl based1on your: race,;
           aes             .    1   soe             1            1     .    Loa
       religion,>national origin,
      religion,                   origin,5 gender,, sexual orientation,
         1    .    a oat             ‘      aotae           toot     a     ten                                                                1
      physical ability,
                      ability, mental    ability or political beliefs.   beliefs.                         >

   “7                     at. of 4      eto.
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   You also have the          righttto file
                          the nght      fileme      grievance: if
                                                      :
                                                a grievance
                                                a                 if you feelc
                                                                             feelt
   your. rights haves: been violated.. No one can
                                *           as                   1                                1                               .       a                .       aor                                                                                74
                                                             can punish you
   for: filmg
        filing r
              ~a abo grievance. Follow, the
                    grievance.                        procedures in this
                                               the procedures                                                         °                                                                    =
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   handbook. See     See; How to m4
                    at                       4
                                     File aaV Gnevance.
                                               Grievance..       Cllr                                         :                                                    oN

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   —      .  VT            an 7  4                                                                                                                                                                                                                                                                          Certainl staffis   not allowed to be
                                                                                                                                                                                                                                                                                                                     staff is3 not                      the IDP,
                                                                                                                                                                                                                                                                                                                                                be: on the  IDP,: including:
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   How will I know the the rules?
                            rules?
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   Your 7facility                              ”                                                                                                                                                                                                                                                               The officer
   wr         ae         .           tas   1           .    4    4                                                                                                                                                                                                                                                  officer                   the; violation;
   Your           must give   you written    information   about .                                                                                                                                                                                                                                                   a                             on                            *               .                      a                    .                 4              “4                  .       .    1

                                                         covered1 in
   its rules, procedures, schedules and all topics. covered                                                                                                                                                                                                                                                 ¢      officer. who investigated the
                                                                                                                                                                                                                                                                                                             • The officer                    the violation;>and,
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   this‘ handbook. The facility, will
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                                        give. you this‘ handbook
                                 will give               handbook                 .
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                                                                                                                                                                                                                                                                                                                    officer- or staff person who witnessed, was, direct-.                                     ~                                                                                           >



   and aa local handbook.                                                                                                                                                                                                                                                                                      ° involved witheeor was -part of
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                                                                                                                                                                                                                                                                                                                     the violation.
   wwe                                                                                    7                                               ae                                           >
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   What: happens happens ' if I break                                                                                                                                                                                                                                                                       wa.                            x                   °-            sptye
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   wate
   EachL facility
   Each
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               facility: r has: a list
                                              a t
                                               list of
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                                                        of rules,‘ that: you
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                                                                                 you and other detain-:
                                                                                                                 *     :                                                                                                                                                                                    What, does       IDP do?                       ,


                        aw                                                                       1:                                                                                                                                                                                                         mw                ——,                                                            48to                                                                                                             ow
                        follow. If
                                                                               +-     +                       “        1                                                                                                                                                                                                                                                     5                                                                                     1
   ees mustmust follow.                   If you are      are. accused of              breaking- the
                                                                                  of breaking                the rules,                                                                                                                                                                                     The IDP                decide.; how to resolve
                                                                                                                                                                                                                                                                                                                    IDP must: decide                     resolve5, your- case.
                                                                                                                                                                                                                                                                                                                                                                             case.: They
    4            a6               saga                                                                  ~                                                                                                                                                                                                    ~ te:         1    at    -
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   these thingsthings will  ' will happen:happen:.                                        1                                                                                                                                                                                                                 follow detentionL facility standards} that say                    what  : kinds
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    tom          |
    1.. The supervisor in charge
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                                                                                  told what° happened;
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   So       ored      ne        .-             ‘        1     “|                       1     ,ot        .       o4                                                                                                                                                                                          tions.. They may    may reduce
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                                                                                                                                                                                                                                                                                                                                                      dismiss          charges
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   2. The officer
   2.   ,
                    officer involved will
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                                                          will try to resolve .
                                                                                resolve2 the: incident                                                                                                                       a       5       .                            ‘
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         soe               +                                                            con               +          1                                                                                                                                                                                      found not    not to have: broken
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                                                                                                                                                                                                                                                                                                                                                         rules..
         informally, if            if possible. However,. if                       if informalL resolu-                                                                                                                                                                                                                                                                 oo ,.                            ca'                                     me:                                                                                   :
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           :        :                                                                        :             :        4    ..                                                                                                                                                                                                          the,: IDP’s
                                                                                                                                                                                                                                                                                                                                           IDP's,‘ decision,>you may file’s
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                                             oad         “4         ne
         tionLoo    is not possible,, the: officer
                    is                           1
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                                                                 officer will| write   write: an    anlLincidentL                                 »                                    °                                             »                                                        r
                                                                                                                                                                                                                                                                                                            If you
                                                                                                                                                                                                                                                                                                               you do not agree with the
                                                                                                                                                                                                                                                                                                                      not agree                                  may file                                                                                                                             °
                                                                                                                                                                                                                                                                                                                     a7         meee            -    2       a
         report;.                                                                                                                                                                                                                                                                                               _.
                                                                                                                                                                                                                                                                                                            an appeal (see‘noyour
                                                                                                                                                                                                                                                                                                                             your- facility’s
                                                                                                                                                                                                                                                                                                                                   facility's
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                                                                                                                                                                                                                                                                                                                                             ‘, local rules‘’' on filing
                                                                                                                                                                                                                                                                                                                                                      rules       filingoo.7ap-:
         report;                                     ,                                                                                                                                                                                                                                                          ae       an  -            .                             ~
   4       .      :           :          :             “1           4     cat oma                     :                                                                                                                                                                                                     peals)..
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   3. An investigation will start within 24 1hours;
   3.                                                                                     hours;;
    ao™             :           :          :            aS             4 a                              1. oo
   4. The investigating
   4.
                                  -             -
                                                   officer will| refer you
                                                   officer                            -
                                                                                                to
                                                                                                to theeT IDP.
                                                                                                              IDP.                                                                                                                                                                                                                                                                                   :                                                        >=                              .
                                                                                                                                                                                                                                                                                                                 Eare my rights3 at the IDP
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         You will get         get aa copy of                                          report         at least 24      24                                                                                                                                                                                    me                                                                               —— 4 a
         -             con                         :                    1                      1                                                                                                                                                                                                                           1       :      +4                       :          1         +
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         hours
         hours before   before: meeting~ with the                      the: IDP;
                                                                              IDP;>and,
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                                                                                        and,?                                         r                        L                   .                                                                                                                        Before        the mcident
                                                                                                                                                                                                                                                                                                                                   incident report is
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                                                                        oe                                                                                                                                                                                                                                                                                                                               the IDP
   5.. If                                                                                                                                                                                                                                                                                                   must: notifyr you in writing7; about your. nghts                               rights: at the       IDP
                                      .            .         “                            -                 4        .
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   ©
   5.    If your
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                                            sent: to the    the IDP, IDP,; -you will|L get       get
                                                                                                 -      a|‘ hearing
                                                                                                        a    hearing-;5                                                                                                                                                                                     +       :               ee *                       ha,‘
                  7 ow - + :                              1          a       Soe         ~)           .          4                                                                                                                                                                                          hearing,>including; your
                                                                                                                                                                                                                                                                                                            hearing,                                your- nghtrightE to:
         on the first    first business<day- after the                      the IDP
                                                                              ~    IDP receives\ the             the.         y                                                                                                                                   '               ‘
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   If
   If the
            a
        the charges) are
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                                            serious,>you may
                                  are, serious,                         may be placed temporarily
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                                                                                                                                                                                                                                                                                                                  at least 24 hours before            before the
                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                                    hearing;
                                                                                                                                                                                                                                                                                                                                                                            IDP hearing;                                    >
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   in administrative: segregation
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                                           segregation before
                                                              :       1. on
                                                                      before: your. hearing.
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                                                                                                                                                                                                                                                                                                                                                                                  of your       choice,. speakspeak.-
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   If   a,              ye
        the IDP determines that
   If the               ’
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                                                      that you did something, that is                eho
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   allowed,: you may
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                                may be placediLin disciplinary segregationL         4                                                                                                                                                                                                                       •*«o Call
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                                                                                                                                                                                                                                                                                                                           witnesses            ’ and    present               +4
                                                                                                                                                                                                                                                                                                                                                                        : evidence: before
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                                                                                                                                                                                                                                                                                                                                                                                                       : the IDP;
                                                                                                                                                                                                                                                                                                                                                                                                               IDP;5
                                                                                                                                                                                                                                                                                                                                                                                          speak: if
                                                                            a°                                                                                                                                                                                                                                    ™                                 -       ,   oa       '                      \                \
                                                                                                                                                                                                                                                                                                                                    silent.: You do not have: to speak
                                                                      .                           a                                                       1                                                                  +                        .                                                                                            °                                     --                    4                                 4                                                4                    «

   or punishedl in other, ways
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                                                   ways: depending:; on the                 the seriousness1'                                                                                                                                                                                               *•
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                                                                                                                                                                                                                                                                                                                  Remain silent. i                                                .                 if you do not
      -                 oo              _                        1                       1                        10                                                                                                                                                                                                                --            4                             1                     cok
   of your- offense.                                                                                                                                                                                                                                                                                              want: to. Your. silence        silence?. may not be used                                                                                                                1
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   activities commissary or other privileges..                                                                                                                                                                                                                                                                    Be: at all phases, of
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                    IDP?                                                                                                                                                                                                                                                                                    to make‘ -~            7
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   cility's staff who decide
   cility’s              decide; what: to do about your. violation.

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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                                                                                                          GEO-MEN 00141687
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                                                                                            Sealed
   *• Receive translation and interpreter
                                       interpreter services so          so you
                1     :     1   1              :    ‘
       can understand
       can  understand and communicate;,
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       to ensure? effective: communicationL because' of
       to ensure                                                        of your
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       limited hearing or sight sight or other disability;
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       Receive the
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       they made their decision in writing; writing·, and,  and ,
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    •* Appeal the.; IDP IDP decision if  if you
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    Important! Appeals’ must be       be' submitted          throughL the the:
    formal detainee grievance process.process.

   Can the IDP postponea the hearing?
           IDP postpone
   Yes,: if
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   Yes,  if you
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   they may     postpone.? your- hearing.
         may postpone            hearing.:
   However, if                                                                                                                                                                                                                                 For your safety,
       ae                                                                                                                                                                                                                                      ™
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   While you are at the facility, you must follow the laws of
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                          you are:. at‘ the facility,>you must° follow the laws
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   the   state.' where
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   If you disobey any state or federal law, you may be:
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                     local, state or. federal court.:                                                                                                                                                                                           vor                tt
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   Local, statestate3 or federal
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                 not have enough money to       to hire your: own law-.
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   yer,
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   You
   You have the        right to speak to your lawyer
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   From time to time,>there  there    will        evacuation drills       at
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                    Drills>can help' you get out safely in a: realt                                                                                                                                                                             *     >        +             :
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   emergency, such as
                        tye
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                                 fire, gas leak,           pe,
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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                                                      GEO-MEN 00141688
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   In     healthL emergency,
   Inioaa health             you:\ can get care right: away.
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    • Your housing: officer; officer;:                                                                                                                                                                                                                                                                                                    be at risk for. suicide, will! be- treated
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   any    . other requirements   _                     , of your your
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             Your fullfullI name,name,° A-Number (or other facility                                           r identifi-.
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Confidential                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       GEO-MEN 00141689
           Case 1:14-cv-02887-JLK-MEH Document 310-1 Filed 08/17/20 USDC Colorado Page 25 of
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                                                                                           Sealed
   You may may also contactcontact DHS.                                                                                                                                                                  Questions,
                                                                                                                                                                                                          Questions, requests and         :md.informal
                                                                                                                                                                                                                                                     infmnrn.l complaints
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   To' contact: ICE:
   To                ICE::                                                                                                                                                                               If you havehavete a question,; request,
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      Fill out aa, staff request    _       formL or aa:L detainee
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      Report:the problem. to ICE‘ OPR. JIC:                                                                                                                                                              solve your problem.
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        ¢• Call:
           Call:     1-877-2INTAKE;
                     l-877-2INTAKE;
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           Fax: 202-344-3390;
         • Fax:    202-344-3390;      .
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           Email:>: Jomt.Intake@dhs.gov;
        *• Email:       Joint.Intake@dhs.gov; .: or,      or,;                                                                                                                                           °• Talk to   to an   ICE; officer;
                                                                                                                                                                                                                          an- ICE  officer;.>or,
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   To, contact: the
   To               the U.S.. DHS OIG:  OIG::                                                                                                                                                            _            }     .   .              La         :      ton      *
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                202-254-4297; : or,                                                                                                                                                                                                                   e                      l                            ao,                                                                nt                        :
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         DHS Office         of Inspector General
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        Attention::: Office       of Investigationsx3 Hotline                                                                                                                                            WhatBoe
                                                          Hotline>                                                                                                                                                                             s
       Attention:                                                                                                                                                     >

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   You maymay also' ask   ask a relative' or friend
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       of force and restraints                                                        .                                           2                                                                      Will
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   Questions, Requests and                                                   a                                                                       +
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   Grievances                                                                     !

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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                  GEO-MEN 00141690
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   How to file
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             fileyokaa grievance (formal complaint)       so                                                             *
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               as, you try to resolve; the          by talking.
                                                       talking..                                                                                                                                                            Can    file: aa complaint’ for someone: else?
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   Check. your facility’s          rules, about: when you can file
                 facility's, local rules                      file;                                                                                                                                                         No,, but another detainee: or someone: on the: staff cani help
   agnevance.
   - grievance.
   a:          .                                                                                                                                                                                                            you to: prepare‘: and file
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    1. Ask-. your- housing
    1.:            housing;3 officer
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   2. Fill
   2.          the grievance form and then give it to your
      Fill out the
                  housing. officer.
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   1. If                                                                                                                                                                                                                    emergency grievances>that impact             your life,
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       or Detainee Grievance Committee                     Committee (DGC)., The: GAB                  GAB                                                                                                                                                                   - :
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       or DGC DGC will meet to                 to review your complaint. None
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         “        named1 in the:: complaint;   complaint;3:                                                                                                                                                                 nity and Detainee:. Helpline (CDH).
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         *• Is named                                                                                                                                                                                                                                              The' CDH
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         *• Already reviewed your complaint;>or,
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         *• Helped you write your complaint.    ,                                   .
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            Tell. your- story;
         •* Tell  a
                                  story;;:                                                                                                                                                                                        :
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         *• The GAB  GAB» or DGC. willL give you a: decision in
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Confidential                                                                                                                                                                                                                                                                                                                                                                             00141691
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   staff misconduct,
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   by aa1 staff—' member       : : or :by another -. . detainee.
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                                                                                                          ICE‘ officer                    If you want another
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                                                                                                     person to get                             you will need to
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   24                                                                                        Immigration i and| Customs
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   What to Expect If
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       Legal obligations:
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        You should
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        understand the conditions
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                                            release.‘ and the date
                                    of your release           date.‘                                                                                        4                                                           1,

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                     of your next court appearance, if
        and location of                                if you
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              one. You can call
        have one.               the EOIR
                           call the EOIR  at 1-800-898-7180      if
                                                                 if
            are unsure of
        you are        of your
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   2.. Phone
       Phone calls:
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                                  phone  call to help you make:     ‘                                                             ,                                                                                          '    6. Local           service. organizations‘ list:
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              arrangements.
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                                                    the facility          an ICE                                             ow                                                                                         ——
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   4.. Property and clothing:    clothing:>    r                ~                      -                   .


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       Medical:,>
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Confidential                                                                                                                                                                                                                                                                                                                        GEO-MEN 00141693
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   Medical
   Medical Orientation    and Health                                                                                                                                                                                                                                                 8                      4
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   extra
     -~    blankets,
             l|   an    extra’ pillows,>jackets,
                  rt > 4extra
        *L blankets,                    jackets,, soap
                                                   soap  ) or deodorant.
                                                              deodorant.                                                                                                                                                                                                                                               ficer:or       |                 ,
                                                                                                                                                                                                                                                                                                                              || the medical staff; know immediately, and stop
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   Medical staff also                   any questions   , about
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                           1. or your legal                                                                                                                                                                                                                                                                        oer                                     |
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   your case,
        case,aLyour court date
                           datepos       legal situation.
                                                situation.  Ask                                                                                                                                                                                                                                        3. Keep
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   Arrival -- Soon    <7Soon4after
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                                                                                                                                                                                                                                                                                                       l. Wear your shoes
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   Arrival                            7 you arrive4here,               t           >  we
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   some         medical     '   questions and will             will        giveL
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   or tuberculin              test      to see 1f
                                        to   see     if    you     have           been           near     someone                                                                                                                                                                                          them;
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   who has had         . L tuberculosis. This is
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              call -—If
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   Sick call               If you are
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                                         are sick,
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   the medical    ,         clinic.
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   either fill
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                fill out                             form or the
                                                     form               /| . medical                    staff. will|:
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   visitt you in the housing
   visit                                 7        :  areas 1      or    other       .    designated             areas.
                                                                                                                areas.                                                14                                                                                                                               >
                                                                                                                                                                                                                                                                                                       3. Ladies,
                                                                                                                                                                                                                                                                                                       3.
                                                                                                                                                                                                                                                                                                                   F
                                                                                                                                                                                                                                                                                                          Ladies,> please
                                                                                                                                                                                                                                                                                                                   please put used   |                     aPoo..
                                                                                                                                                                                                                                                                                                                                   Kotext pads or tampons in the
                                                                                                                                                                                                                                                                                                                              used Kotex                     the                                                                                                                      | pd                          ;

   If
   If you are| not sure         sure7how sick    '         , call
                                                               call ql works, ask any staff    ‘
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   member.                   |
    I . If                                          .4; ‘                                 a™ you will                                                                                                                                                                                                  we
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                                                                                                                                                                                                                                                                                                                washing
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    1                                : |     1                         ft
    1.   If you are   are     4
                                         ] ’ dental        ;pain or swelling,
                                                                           a4swelling,
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                                                                                                                                                                                                                                                                                                       Germs   can
                                                                                                                                                                                                                                                                                                               can, make.:
                                                                                                                                                                                                                                                                                                                    make   you   sick, and
                                                                                                                                                                                                                                                                                                                                       and  germs   can be passed
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                                       , process to get
         use the‘the sick call
                    |             call           ]          :4    get .help.
                                                                     2     help. ;          Routine care
                                                                                            “               care: ™   like
                                                                                                                      like                                                                                                                                                  ‘
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         dental cleanings will
         dental                             will not                done
                                                              be done            ’ unless you are here                                                                                                                                                                                                 through hand   contact.   Washing
                                                                                                                                                                                                                                                                                                                                 Washing    your hands    will help keep                                                                                                              r

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                                                                           i                               ’                                                                ;                                                                                                                                            ;                                                                                                                                                            2
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                            a           ws
                                                                                                                                                                                                                                                                                                       you from
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                                                                                                                                                                                                                                                                                                                 getting   sick.
                                                                                                                                                                                                                                                                                                                           sick.
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         for: more
                more thanL 12          12 months;
                                             months;> and,                                                                                                                                                                                                                                                       _      >                                                                                               .
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   26                                                                                                                                                                                                                                                                                         Immigration : andrn
                                                                                                                                                                                                                                                                                         ys oom
                                                                                                                                                                                                                                                                                         U.S. Immigration
                                                                                                                                                                                                                                                                                         U.S.                  : Customs    oe
                                                                                                                                                                                                                                                                                                                 Customs* Enforcement
                                                                                                                                                                                                                                                                                                                          Enforcement.                                                                                                                                                            aAsooe
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          -• National
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             National Detainee
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Detainee Handbook

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  3 Supp. App. 170
Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   GEO-MEN 00141694
       Case 1:14-cv-02887-JLK-MEH Document 310-1 Filed 08/17/20 USDC Colorado Page 30 of
                                                                 37
        Appellate
              Appellate
                   Case:Case:
                          22-1409  22-1409 Document:
                                                  Document: 38-3 38-4
                                                                   Date Filed:
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                                                                                   .
                                                                                      03/24/2023
                                                                                       c
                                                                                                   Page:Page:
                                                                                                            176 29   Sealed
                                                                                               . It is one of
         *                      ‘ .            4
    1. Make
    1.
            ee
            sure     nm the‘: water
                 you run            in the
                                       the; sink and1 wos  ——
                                                      use: soap
                                                           soap}      to quit
                                                                         quit smoking
                                                                              smoking       aw
                                                                                       forever.
                                                                                     5 forever.            of the
                                                                                                              the best things you                       oat 4
                                                                                                                                                                                                                                                 r

                              "                            ~tol ae                                                                                                                                                                               1            4
           to
           to wash your hands.
                        hands.                                                                                                                                                                                             can do for
                                                                                                                                                                                                                                  for your health.

                                                                                                                                                                                                                     mT
                         1                ton                                   .                        1             1                      - “                     +‘                 1
   2. Wash each
   2.      eachL finger and rub              together,5 washing
                            rub) your hands, together,  washing
           both sides of
                         as   +4                                  1     os           “  :1     ma
                                                         your hands:, with:L soap, and water.. Clean
                      of your hands with soap and water. Clean                                                                                                                                                       Dental
                                                                                                                                                                                                                     Dental care
                                                                                                                                                                                                                                               ~~,
                     1
       under your finger nails also.
       under                   also.
                                                       a        +    1                                                                                                                                               I. Brush4 your teeth
                                                                                                                                                                                                                      te
                                                                                                                                                                                                                      1.
                                                                                                                                                                                                                                         at
                                                                                                                                                                                                                                              after
                                                                                                                                                                                                                                             after  every   meal, if
                                                                                                                                                                                                                                                    every meal,   if possible, and
    syoer 14      tot on             a,
                                a after      :        re ee
                                               - to the: bathroom,
                                                                                                                                                                                    at
                                                                                                                                                                                                                         1  o
                                                                                                                                                                                                                                 going>to bed;1 ‘
                                                                                                                                                                                                                         before going
                                                                                                                                                                                                                                            1

   3. Wash hands; before eating,
   3.                    :                 going
                                           -
                                                                                                                                                                                                                                  brush up' and14down —
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                           as
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         a . + : ,                               a   a
                                                                                                                                                                                                                     2. Always brush                       - never
                                                                                                                                                                                                                                                             never across;
                                                                                                                                                                                                                                                                    across;
       after playing or working outside, or after. being near
                                                       >
                                                            near aa                                                         '                                >
                                                                                                                                                                                                                     2.
                                                                                                                                                                                                                     NA 4e                       4   ‘
       sick
       sick person.                                                                                                                                                                                                  3. Always
                                                                                                                                                                                                                     3. Always brush
                                                                                                                                                                                                                                  brush your back teeth; and gentlygently brush
                                                                                                                                                                                                                                                                           brush your
    ree°                          .                                        2                                                         1                                                                                   tongue; and,
   Showering
   Sho,vering‘i and personal care::                                                                                                                                                                                   A wt
                                                                                                                                                                                                                     4. Floss
                                                                                                                                                                                                                     4.
                                                                                                                                                                                                                              \
                                                                                                                                                                                                                                everyday if
                                                                                                                                                                                                                        Floss everyday
                                                                                                                                                                                                                                               4   _ 4
                                                                                                                                                                                                                                           if dental floss   is available.
                                                                                                                                                                                                                                                       floss is
                                                                                                                                                                       vay
                                                                                                                                                                                                                                   »
    to.   mea                         +                                                                      +                   vo4                                                           1
       Takemyaa shower every day (whenLpossible)
    1. Take
    1.                                                          possible)}and use: soap   soap
            4
       and water:
              water;>1                        .



   am mo               to       oat    1            ~-- a sy e               4  _ .
                               the:. shower,; NOT
                    “s
   2.            onlyr in the
   2. Bathe,. only                                  NOT the            sinks.. Don’t
                                                              the sinks.        Don't :
          :          ‘      NO       *    1
       urinate (pee) (pee) in the
                             '      the shower;        !                                                                                  ,

   A, oT      a1! . 4, +, ty                                              °.
   3. Use the
   3.         the    sinks>to wash1 l your
                   ; sinks                   your.- 1hands    11
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                                                                                 ‘  1
                                                                  y or face,; to shave
                                                                                   shave 2
                                                                                         é
                ao
       your: face
                face: or to brush your- teeth;
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    A™                1     .
   4. Do not
   4.       not shave          youra1head1 or private
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        fections),, and do not share your razor with                         with others;
   rc a                                                    - 1.4
   5. Do not
   5.               pierce3 any part of
            not pierce       .
                               —
                                               of your body;
                                                       ,
                                                             body;   ._?,       ~       —                                        -

   ror            1       1                     1            1
               L
   6. Use aa deodorant every      .         ,
                                     every day; and,    and,
   6.
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                    1                  14         .     + 4          1
   7. Do not
   7.       not leave‘ any clothes    clothes) in the  the bathroom.
   Sd           6             moa
   Bed safety
   17
   1. Do not
   1.
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         not jamp
                   *   a.      4
                       fromtl the
             jump}down from
                                      +  +           *
                              the top bunk or up to the
                                                    the top
           4             1
           bunk;
   Aon.4                                  ce                                        4                                            Soe,                                  4                       +.    4
       Take‘ your time: when
   2. Take
   2.                         when getting; into          and out of bed.
                                                    into) and              bed.. Make                                                                                                of
                     ae.                ae             Atomom                 af . 1
        sure.; you step   ’ on a solid area of the          floorc with com
        sure         step        -
                                                        the floor             the
                                                                              the   large
                                                                                 : large
                                                                                                             ata                                  ~.4



              : I            °        Oo:
        portionl of your foot;:       of                                                                                                                                                                             Genera]
                                                                                                                                                                                                                     General
   3. Lower- your7head1L when
   ,57 *
   3.
                                    .'       vat     .           1    4
                                           getting: out of bed if you sleep
                                                                                  1
                                                                                 sleep                                                                            of                     if                          1. If
                                                                                                                                                                                                                     1. If you brush
                                                                                                                                                                                                                                brush your hair over the      the sink, remove any fallen  fallen
            _1         71    1         1
        on aa lower bunk; and,     and,                                                                                                                                                                                  hairs from
                                                                                                                                                                                                                         hairs from the sink;
                 a4                                           ae,wo 4               14
   4.
    A
   4.     If
    ‘ If you fall
                fallI out of beda ata any
                ey             1                 a?
                                           any time      notify
                                                         notify    of
                                                                   rthe    or
                                                                    the officer
                                                                         officer  .

                                                                                     in                                                                                                                              2. Throw
                                                                                                                                                                                                                     2.                intoy the
                                                                                                                                                                                                                        Throw trash into                        cans,> not onto
                                                                                                                                                                                                                                               the garbage.; cans,             onto the floor;
                                                                                                                                                                                                                                                                                         floor;
        atoa          “        +                   4
           the' barracks5 so that you can
                          so that     canLoo3
                                          be  examined] in the
                                          be examined      the medi-                                                                                                                                                                        14 a 1                  ay                          1.

                sot                                                                                                                                                                                                  3. Throw
                                                                                                                                                                                                                     3. Throw    disposable    ;  diapers   into   the
                                                                                                                                                                                                                                                                 ' the,  trash.   Do not throw
           cal clinic.
               clinic.                                                                                                                                                                                                   A              o              .     *         4    :    1
                                                                                                                                                                                                                         them on the
                                                                                                                                                                                                                        them           floors’ or into
                                                                                                                                                                                                                                   the floors    ‘
                                                                                                                                                                                                                                                       into the
                                                                                                                                                                                                                                                            the toilets;> and,and,
    os               x   18                   aut                                                                                                                                                                    sa                           1 x n      a     x            4
   Good health                                                                                                                                                                                                       4.
                                                                                                                                                                                                                     4, Do  not  leave  crumbs
                                                                                                                                                                                                                                 leave crumbs from
                                                                                                                                                                                                                                       saga:
                                                                                                                                                                                                                                                      from   food >   in your   housing   area
   17             1
   1. In 4hot weather,  4  oad      1 a4.t    .
                                                   the tous
                                                 Jot1
                                                  at
                                                       hottest4 part                                               at
                                                                                                                                                                                                                         1
                                                                                                                                                                                                                         because it will  ]         r
                                                                                                                                                                                                                                                                4      4
                                                                                                                                                                                                                                     will bring, ants and other insects.
    1.    In hot weather,, stay in the shade; during) the hottest. part
                       stay in the shade   during
                                                                           1                14                                                                   a1                                        ALL
           of
                         4        4                            a
           of the
              the day and drink  lots, of
                          drink‘ lots  of water throughout
                                                throughout: the: day.
                                                                 day.                                                       '                       ’                           4              aad

                                                                                                                                                                                                                     Non violence
           If                 .               .
                                 dark, you probably aren’t
           If your urine is very dark,                         :
                                                    aren't drink-
                                                           drink-      :
                                                                                                     ,        to        1
                                                                                                                                 ;
                                                                                                                                                                 sad a4                        Cr
                                                                                                                                                                                                 :
                                                                                                                                                                                                                      1
                                                                                                                                                                                                                     1. This“ e
                                                                                                                                                                                                                                          will not permit any type of
                                                                                                                                                                                                                                facility will                              physical or
                                ae bt a                                                                                                                                                                               1.      ' facility                                of physical
       ing enough4L water,4
                                so4drink
                             , so   drink: more;
                                                                                                                                                                                                                                   abuse. If
                                                                                                                                                                                                                                                            4                              a4                 14

                                 ton aR. 2.                                                                                                                                                                              sexual abuse.          someone physically7 or sexually as-
                                                                                                                                                                                                                                             If someone
                                                             eatae
   Ay. =   at, .                                               1       tay       1                                                                               oe
   2. Eat
   2.  Eat three' goodl mealsyoaa day.
                                     day.. BeBe‘ sure to cat       fruits
                                                                   fruits  y and                                                                                                                                              4                                 *    4     ane      +
                a4     _                         «        4                                                                                                                                                              saults you, telltell an officer
                                                                                                                                                                                                                                                  officer or medical staff immediately;
                                                                                                                                                                                                                     aoa
                                                                                oa
       vegetables.: Don’t       eat too
                       Don't : eat  too much candy;)                                                                                                                                                                                                            *             “lt
   yoo                 .     4      Las .                        4     —_-
                                                                                                                                                                                                                     2. Disciplinary measures3 will be taken against-. anyone.;
                                                                                                                                                                                                                     2. Disciplmary
   3. Try to exercise at least 30 minutes
   3.                                     minutes every day.     day. Play                                                                                                                                                                                        1               1   :
                                                                                                                                                                                                                                          a4
                                                                                                                                                                                                                         who physically or sexually‘ assaults          someone.; else in
                                                                                                                                                                                                                                                                    ; someone
            4
             :
       sports,
                   a4

                    «         :
                                  4

                                    a:
                                        :
       sports,2 walk around,>run in place
                                           *
                                             _
                                               4

                                                      :
                                                           *

                                                             *
                                                                    4
                                                     ‘ or do pushups.
                                                               _pushups.
                                                                       _      If
                                                                              If
                                                                               o4                                                                                                                    ae
                                                                                                                                                                                                                         at . s
                                                                                                                                                                                                                         the
                                                                                                                                                                                                                        the ; facility.
                                                                                                                                                                                                                              facility.
             haven't » exercised in a long4 ' time,) do some
       you haven’t    -                            :
                                                                 some: light:4
                                                                         .

               ae        4       .    .                            «                                                                                                                                                      KN   .                         “us
       stretching5> or slow jogging
       stretching               jogging to to warm up and -prevent                                                                                                                                                   Getting along; with  withi others:
       injuries;                                                                                                                                                                                                      a   1                ase                                           1000
   Ao =
       mJunes;>                                                                                                                                                                                                      You have to share
                                                                                                                                                                                                                                    share‘ living     space., with4 l -aa 4lot.: of
                                                                                                                                                                                                                                           living>space                          of people
                                                                                                                                                                                                                                                                                    people   sobit 1s
                                                                                                                                                                                                                                                                                          ’ so     is
                                 , 14 1
   4.
              1
   4. Try to sleep
             sleep )   ad
                         leastsa
                   } at: least  8-10
                              » 8-10 , hours
                                                     sot!
                                       hours aa. ’ night;
                                                   night; 5                                                                                                                                                          important to be considerate         “4   1           4
                                                                                                                                                                                                                                        considerate and to recognize that others                     °   ,a   4,       at



   cm             :         7    v4       1        1   4            4                                                                                                                                                     wae
   5.
   5. Cover  your    mouth    with  your   hand      when   you cough                                                                                                                                                are different.
                                                           a4                                                                                                                             “               mae
                                                                                                                                                                                                                                                              can't2. enjoy their
                                                                                                                        .                     *                            1                                         tr
           or sneeze                      the ground or floor.
              sneeze.; and do not spit on the           floor.. Thisi:                                                                                                                                               1. Don’t
                                                                                                                                                                                                                     1.            so loudtutothat others
                                                                                                                                                                                                                        Don'toe be so                  at   '
                                                                                                                                                                                                                                                            ' can’t
                                                                                                                                                                                                                                                                                  a
                                                                                                                                                                                                                                                                                        activities.
                              1,                                   pts                                                               1)                 4         .            y              ot4           1           m                      Le                a,            a
      spreads                    make’ other people‘ sick; and,;
       spreads3 germs, that. can make                                                                                                                                                                                                      soe
                                                                                                                                                                                                                         Be quiet at night so                         a
                                                                                                                                                                                                                                               so other people? can sleep;
                                                                                                                                                                                                                                                     .        '                sleep;, and,:                       1


   con     a:          .        «orem 4
                                   Thinkx ofmtthis as‘ your. chance
                                                              7                 ott                                                                                                                                                                                                    ne
   6. Smoking is
   6.            is, not allowed., Think                           :                                                                                                                                                    Avoid people who like
                                                                                                                                                                                                                     2. Avoid
                                                                                                                                                                                                                     2.                         like.; to         problems33 or fight.
                                                                                                                                                                                                                                                       to cause problems               fight.:

   2f
   27                                                                                                                                                                                                       55 am
                                                                                                                                                                                                            U.S. Immigration
                                                                                                                                                                                                            U.S. Immigration and Customs
                                                                                                                                                                                                                                 Customs3 Enforcement
                                                                                                                                                                                                                                          Enforcement                                   BS.
                                                                                                                                                                                                                                                                                        National   DetaineeegHandbook
                                                                                                                                                                                                                                                                                               : pmonete
                                                                                                                                                                                                                                                                                     -• National i Detainee
                                                                                                                                                                                                                                                                                                                 °



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Confidential
Confidential                                                                                                                                                                                                                                                                                    GEO-MEN 00141695
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                                           owe                   a)
    Staying Healthy
            Healthy                :
                                                                          r



                   2                   1              “         aos®      .         “               .t        ce
   How do |I stay  heaHhv in hot
             stavr healthy   hot weather?                                                                      ?


   woes          .  t .o4        : . .     . 4 4  *
   It is
      is‘, importantL to keep water in your body when
                             '

   a        4
      is‘% hot. Your
   it is                               +
                Your- body needsx> lots‘4 of     1
                                          of water, to stay      ala. 4                 ‘           ’

   4     44     ~ 4
   healthy. In hot                             andaa
                        weather,> you sweat“4: and
                   hot‘ weather,                    lose.: water
                                                  - lose
                                                          aa ‘

   o             1   4   me
                  body. This, can:
   froml your body.
   from
          aed >                   o      1 “
    • Make
   *'
   *      Make7 you feel          feel       dizzy;.>
                                          L dizzy;

          Make.: your, mouth’ anda.tongue., dry
          arawa                                                              4                 74 .
   a
   *•
                                                          as
                                                                                    andtouts sticky;
                                                                                          - sticky;     °

   a      ~ es                           .          +s 4               4
   *•     Make. your. urine         urine:’ darker;,>and,          and,>
   *•’    wT?          svt                      ns
   *      Urinate.; less
          Urninate          less4>often.
                                       often..
   If . feelwt 4 , this
   If   you
                 °
                 feel
                        1”      oO.
                            thirsty,
                                              a :

                                                 s+
                                                —_~
                                                                    '
                                                        means, you need- more wa-
                                                               tot
                                                                                      4

                                                                                           4     .
   ter in your body.        body.. Drink: water in hot                    hot weather
                                                                                 weather even       evenl
       4                   4      a. s         I        so,
   when
   when         you don’t  don't        feel thirsty.
                                        feel
     wn           4          vat             a ce)                       a1      .
    To
   To   : avoid getting sick               sick       in hot weather:
   a“
   *•     Drink: lots of          of water. all day long;
   a
   *•     Ifyou
          If youLare     are.3playing
                                 playing55 sports, drink             drink-‘ extra ‘
                                                                               extra           .
                                                                                        L water;     ,
                                                                                                     ,
          m          .                4       1      1     .
                                                                 the hottest: part: of
                                                                   *    ao.          5               t1
   *•
   -
          Stay in the
          Stay   .
                           the; shade' during, the
                                .                .                                   -
                                                                                               of the.:
          aa.
          day;
          day;
          vwr          4               4      eo     ut
   *•
   2
          Wear loose: clothing:     clothing;            .


                                           feell dizzy,
                                                      dizzy,3 sit down. in the:, shade
                                    ,      c                            4           7              4    1
                         starttl. to feel
          —-~                                          1”                 o,             ow
   “
   *•     Ifyou
          If you[ote
                + 4                        1
          or indoors;' and,         and,>
          —        -              -                          a           *
          Don't- stay in the. sun for. too: long.
          Don’t
                                                oa

   *•
   a

   -~          1         i                    a        *       ane             or
   You
   You should should let medical staff know if:                                if:
                                                                            .
   *•     You feel  feel weak or dizzy every                    every time you stand          stand
          up; oF,or,
   -                         at                    1 tat
   *•     You urimate
                    urinate           very little. little.
                                                                                                    ,
                                   %                                  .       sto   *       *   4   3
   How can II keepymy
    ~——

                   mv teeth healthy?
                            hea1thv?
   ™           1           ‘           aa                        1
   Brush your teeth correctly:
    tm    wr .         *       ’           ta                  1i   no. Ama
                                                                          +4 . 1
    1.: Place, the toothbrush
    1. Place the toothbrush at a 45-degree       45-degree.; angle
                                                                é at a’      ; be-
                                                                                     :
        :                we      a                                ]
        tween
        tween your teeth and        and gums;
                                                                               '
       4s
   aA            wa 4
   2.. Moveathe brush
   2.                  brush up and+4down on each
                               1                               aa
                                                                      Ltooth,,
                                                                                                         “a



            4 1,                                                    ty          _.    1
              backt andtrooaoa
        not back
                                   aoa
                              forth.
                              forth.     Spend1sL 10
                                      . Spend      l 0 seconds
                                                        seconds               wan
                                                                         on each
                                                                       3 on    each     L
        :       fotos      .;           :    at .         fo ‘    a4 :
        tooth before you go to            to the
                                             the; next tooth;;
   aA —       *        ry            a      Lo     a           +              a.       .
   3. For the
   3.        the inside; top   top' front. teethL and  and1bottom
                                                               bottoml front:
             7         soe                     14 :
        as, shown in the‘ picture below;,
        as
   Arta           a4
       CleanL all the
   4.: Clean
                                    oa
                      the outside‘ surfaces' of
                                               a      ,
                                                        of your top
                                                                     .
                                                                        top and
                                                                                     4
   4.
        1           :     1
        bottom teeth:
                   teeth;
   cn         “         s            4              peels                          ,
   5.. For the
   5.        the surfaces: where: you bite           bite>down, move     move:
        a          a4         14 1            aa        .       1
        the: toothbrush
             toothbrush back: and forth;        forth;> and,
                                                           and,>
   6.. If
   r             aa floss\
       If possible,                    m         a              aL
                                                                day.
   6.                  >floss) your teeth every day.                   .




                                                                                                                   U.S. 8Immigration
                                                                                                                   Ssm       .   .      17   4  ~ mw
                                                                                                                                                  Enforcement.     Asaf. pment
                                                                                                                                                                                   xe
                                                                                                                                                                                   we




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   28                                                                                                              U.S.  Immigration     Customs
                                                                                                                                     and Customs  Enforcement    -• National
                                                                                                                                                                    National Detainee
                                                                                                                                                                             Detainee Handbook

                                                                                                                                                             3 Supp. App. 172
Confidential
Confidential                                                                                                                                                               GEO-MEN 00141696
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   Privacy?r Notice|t Regarding
   Privacy                             the  Collection                            r          -‘ required by the   ;> Privacy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .                 at

                                                              Note:
                                                              Note:, This privacy notice isis                  the
                                                                  of 1A
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       oe    wor      a         wor                 oN
                                                              Act
                                                              Act of  1974 and4 only
                                                                      1974
                                                                                        1:
                                                                                     applies. toto information
                                                                                                   information:      1
                                                                                                                 l about ‘
                                                                                                                           you
                                                                                                                           you                                                                                                                                                                                                                                                                                                 1


   of
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             Information for Your
                                Your. Medical
                                                                                                                                                                                                                                                                                                                                                                                  r

   of Your
      Ytmr* Infonnation                    Medical| Care
                                                    Care’‘          ‘  I
                                                                       i*
                                                                           AS  x       o4              1     1 1        7,
                                                                                                                      fog                                                                                                                                               “4
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                                                                                                                                                                                                                                                             collected by ICE medical. personnelL and placed into your
                                                                                                                                                                                                                                                                       aw                                                                                                         ae
                                                                               ‘                                                                                                                                                                                                                                                                                                  wo


                                                                                                                                                                                                                                                             -—-      1    1       1             emotes.             a
                                                                                                                                                                                                                                                             ICE' medical records. At some                                                                                                                                                                                                                                                                  .                                   a
                                                                                                                                                                                                                                                                                          some facilities, your medical




                                                                                                                                                                                                   Gn
                                                                                                                                                                                                   Ge
         is ICE’s




                                                                                                                                                                                                                             we
   What is  ICE's legalL authority. for, collecting
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2
                                           collecting this
                                                      this                                                                                                                                                                                                                                                                                                                                                                             ‘



                                                                                                                                                                                                                                                                                         - ICE¢ medical| personnel;, in
                                                                                                                                                                                                                                                             records>are' not created- by
                                                                                                                                                                                                                                                                                                                                                                                                                                           1                                   ae

   ~         -  4    7             °                                                                                                                                                                                                                                                        ICE                                                                                       a




                                                                                                                                                                                                                                                                                             of ana
   information?                                                                                                                                                                                                                                                  +      re 4   —-                        a4 .     :    *
   —_    a4       \ a4        a     .  .       a   .  +:   n                                                                                                                                                                                                 such
                                                                                                                                                                                                                                                             suchL cases, the           Act of
                                                                                                                                                                                                                                                                          the: Privacy. Act     1974 and this‘ notice do not
                                                                                                                                                                                                                                                                                                1974                     not                                                                                                                                               *                                                                ,

   The collection of this‘ information is
                                       is‘; authorized by
                                                        by 38                                                                                                                                                                                                    1
             AA, aoe               aan                                                                                                                                                                                                                       apply.
                                                                                                                                                                                                                                                             apply. :
   U.S.C. §§ 1222
   US.C.                 U.S.C. §§ 249.
             1222 and 42 US.C.     249.
                                                                                                                                                                                                                                                              7~e                                           wo                       2                                                             4                               a

                         ewes                                                           .               so.                                                                  “4                                                                               Sexual Assault
                                                                                                                                                                                                                                                                     Assault Awareness
                                                                                                                                                                                                                                                                             A,vareness
                                                                                                                                                                                                                                                                              mee                                                                                                                                                                                                                                  :
   Why is
                                                                                                                                            xe
                this5 informationt being
            is’ this                        being3r collected?                                                                                                                                                                                               wertaot                       to               :                        44
                                                                                                                                                                                                                                                                                                                                     -                                —_—wo                        waa\                                                            .                                               1                            . an                     .        veL
   --4-=                :    4                :             4‘       'sa     aon                                                                                                                                                                             ·whilev detained by DHS’ ICE
                                                                                                                                                                                                                                                             While
                                                                                                                                                                                                                                                                   cd
                                                                                                                                                                                                                                                                      a
                                                                                                                                                                                                                                                                                               ICE; ERO,,' you havenoaa right   rightLto
                                                                                                                                                                                                                                                                                                                                       to
   ICE
   ICEoois committed to protecting: your- healthL while.; you                                                                                                                                                                                                1  ae,
                                                                                                                                                                                                                                                                safe; and tr c
                                                                                                                                                                                                                                                                      and free     fromlLsexual17
                                                                                                                                                                                                                                                                                   «6
                                                                                                                                                                                                                                                                             free' from                           .          -a       ts‘
                                                                                                                                                                                                                                                                                                                                assault.                                                                               1                   1                               ,                          4


          a ey               s ~          1           an.    .      1    1         -                                                                                                                                                                         be safe                                  abuse, and sexual assault.           :
   are: in ICE‘ custody.
   are               custody.. In order        to
                                                to effectively do so,         so,) ICE‘                                                                                                                                                                      7m     : wt             1      1                wy  oa       ce cae      1 OD>                               1

          a 1                 1    “]1     a4     Ltn
                                                  .                .       1                                                          ra                                                                                                                     Report all
                                                                                                                                                                                                                                                                      all attempted
                                                                                                                                                                                                                                                                           attempted abuse abuse>; or assaults  } to
                                                                                                                                                                                                                                                                                                                  to aa7. facility r
                                                                                                                                                                                                                                                                                                                                     staff
                 personneli will
   medical personnel            will  L collect5 informationLlabout you                                                                                                                                                                                           .                      *          »     .         :.    an
                                                                                                                                                                                                                                                                                                    housing3~: unit
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             a   -            +          >sae      as
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                                                                       :   .   ate    ‘                                a         ae             ‘            a
                                                                                                                                                                                                                                                             member
                                                                                                                                                                                                                                                             member (for(for example,  -
                                                                                                                                                                                                                                                                                             your- housing
                                                                                                                                                                                                                                                                                            De                 unit:- officer,
                                                                                                                                                                                                                                                                                                                       officer,>a7 super-
                                                                                                                                                                                                                                                                                                                                        ..
   and youryour medicalt history: including2r healthL conditions
                             .                                           conditions     you                                                                                                                                       y                                .                       _1                aadi                                                                              ss                                                              .                    on                                     .-                               1                         XN
   1                             ae      1          1
                                                   oe
                                                                 1                                                                                  .   -                              4                                     a
                                                                                                                                                                                                                                                                       healthcare.; provider
                                                                                                                                                                                                                                                             visor, aa healthcare        “4,
                                                                                                                                                                                                                                                                                           “ or the officer    charge),> or
                                                                                                                                                                                                                                                                                                    officer in charge),                                                                                            -
                                                                                                                                                                                                                                                                                                                                                                                                                                               at
                                                                                                                                                                                                                                                                                                                                                                                                                                                               ‘

   have,     medications you take and special needs
   have, medications                                               needs you have.
                                                                             x                                                                                                                                                                                1’   4                 N
                                                                  to;                                                                                                                                                                                                                             and"ote      : wrir
                     5                                             '                                                                                                                           >                                               ¢                           1                  ’           1           at                                                                                                                                                                                   ‘               .

                                      1       aoe                                                                                                                                                                                                                         the ICE Community
                                                                                                                                                                                                                                                             directly to the                     and
                                                                                                                                                                                                                                                                                                            at
                                                                                                                                                                                                                                                                                                                 Hotline
                                                                                                                                                                                                                                                                                                       Detainee Hotline  ’ or
                                                                                                                                                                                                                                                                                                                         2           ~~                                                                                        ,               ,                               tim



   asboyaa result of
                             a  ae                                                                                                                                            ,                            .                                                                                                                 ‘                                ‘                                                                                                                                                                                     ‘
      ‘                                                                                                                                    Camel

   as                of a, medical condition.. The information    information may                                                                                                                                                                            .t ~Awo            -
                      a4i                        + tae             a                                                                                                                                                                                             ICE OPR JIC.
                                                                                                                                                                                                                                                             the ICE
                                                                                                                                                                                                                                                             the
   be‘ collected in various1 ways including
   4                                      te                           .                                                                                             i                             4                                                                                       ‘
                                                 including throughthroughlLforms
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   that you complete or discussions1, you have5with                       with medical
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   How7will the information1be used
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   are; in ICE‘ custody and to provide: you with medical care
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   medical provider and share relevant                               medical        informa-                                                                                                                                                                 the clothing,> withL an intent to abuse, humiliate,> harass,,
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   government agency,                      .                               °           country,                                                                                                                                                 >            coercing or pressuring, another             another detainee to engage2? ina                  in a                                                                                                                oe


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   medical information                       may 1be shared  shared       t withL that
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   agencyr or country, to help' ensure: continuity in your- care.                                              care.
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   Your       information may
   Your information                      may also         be shared with federal              federal and                                                                                                                                                                              abuse. and assault:
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   lance‘ and control and withL accrediting
   lance                                                  accrediting agencies' that                     that’                                                                                                                                               sonnel engaging
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   accredit ICE facilities.
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                               facilities. Additionally,>because' the                             the. U.S.
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   Department. of                  Veterans} Affairsa)
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                                  ICE‘ custody,; information
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   to medical providers! who treat                      ‘      4
                                                        treat.‘ you. Finally, Finally,>your medi-.                                                                                                                                                             *  a 4s                        :    *              .                 .                                                                                                              ?

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                 ;               L the United| States    States; Courts               , if itit is  >  relevant; to
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   Furnishinga this' informationLoa
                                 is, voluntary.
                                 is          .            if vou
                                                             you                                                                                                                                                                                             statements’ or comments’ of a                   nature’ to aa. detainee,
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   choose; not to provide; the requestedl information,> it could
   choose not to provide the requested information, it could                                                                                                                                                                                                 including>r demeaning~ references‘7to
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                                        care‘ or health because:                                                                                                                                                                                             comments‘7about body or clothing,>or profane.? or obscene
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   have a negative impact on your care or health because                                                                                                                                                                                                                                                                     obscene
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                       the information it needs
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   care; for you.
   care       you..

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   29                                                                                                                                                                                                                                         U.S.
                                                                                                                                                                                                                                              U.S.. Immigration
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                                                                                                                                                                                                                                                                       Customs3 Enforcement                                                                                                                                                    -• National
                                                                                                                                                                                                                                                                                                                                                                                                                                                  Nationali Detainee
                                                                                                                                                                                                                                                                                                                                                                                                                                                            Detainee3 Handbook

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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           GEO-MEN 00141697
      Case 1:14-cv-02887-JLK-MEH Document 310-1 Filed 08/17/20 USDC Colorado Page 33 of
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                                                                                           Sealed *                                                                                                      .                                                                   cools                                                      at               ~ toa?
   Sexual conduct
          conductt of any type
                          type.a betweenl staff and detain-
                                                    detain-                                                                                                                 3. Do not accept. an offer
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                                                                                                                                                                                                       fromL another detainee to be
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       amountss to sexual abuse,        ut.
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                                  regardlessy of whether
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   ees amounts                                                                                                                                                                 your protector;,
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   consent exists.
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                 fy               a                                                                                                                                            discussing your               concerns. Report concerns;’
                                                                                                                                                                                            your fears and concerns.    a                             .                               y                                                              .                    2

   Prohibited acts
   Prohibited acts                                *                                                                                                                            _             4         a  404
                        vas       4                                                                                                                                         5. Do not use drugs\ or alcohol; these
                                                                                                                                                                            5.                                  these‘ can weaken your                            ,                                                                              é                .

   This facility has aaL zero tolerance policy policy for sexual abuse
                                                                   abuse
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   and1 assault,
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        assault,
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                                                 ICE  : policy
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                                                                                                                                                                                   clear,; direct:and firm.. Do not
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   law. A
        A detainee; or staff member
   law.wok     ‘       a
                                  member who commits sexual    sexual                                                                                                          oer   3     cen     :      5
          4a 4   4.fa                 1   .            1    1                   1                                                                                                 “No,”      "Stop) it now;”
                                                                                                                                                                                        or,. “Stop
                                                                                                                                                                                  "No," or,            now;"
             shall
   assault shall    be punished administratively
                    be              administratively      and may
                                                               may be
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   subject to criminal prosecution.
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                                                                                                                                                                                  are, involved2 in positive activities like educational pro-
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          a.                                                                                            1                                                                      are involved in positive activities like educational pro-
   A detainee.; who engages‘ in such
                                such behavior can be
                                                  be charged                    y
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    oe ua                                     *  4                                                                                                                             grams, work         opportunities or counseling
                                                                                                                                                                                           work opportunities  '             counseling groups. Get      Get
   with the following> prohibited acts under the
                                                                                                                                                                                                                                     ~
                                             the detainee                                                                                                                                          4    ae owt .                                            4
                                                                                                                                                                               yourselfan involved         in these activities, if                are. avail-                                                                                                             at
                                                                                                                                                                               yourself                                                if they are
   disciplinary policy:
                 policy:                                                                                                                                                         14 . :           Aa,                                                     sae
      mot . anwn +17                                                                                                                                                           able at your
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      Code
      Code, 101:   Sexual Assault;>
             l O1: Sexual
                1 s ANA ee w4                                                                                                                                               8. If
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    • Code
        Code      , 207:   Makingre
                    207: Making           Sexual Proposal or wm
                                       aa Sexual
                                      an                             Threat;
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                                                     nt                                                                                                                        abused,                  toty
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                                                                                                                                                                                                                staff member                             the
   a
         aad 4 2 ANAL TTi
   •* Code o_o
        Code        404: Using
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                           Using Abusive     :
                                                 or Obscene
                                                     Obscene      Language;                                                             a ¥
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                                                                                                                                                                               ICE
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                                                                                                                                                                               ICE: Community7 and Detainee Hotline
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                                                                                                                                                                                                                               Hotline» at 1-888-351-
                                                                                                                                                                                                                                               1-888-351-
   4
   *•   Code
        Code4’ 206:        Engaging in a Sex Act;
                    206: Engaging                     Act;> and,
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                                                                                                                                                                                                           JIC“ atat. 1-877-246-8253;5 and,
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        mot . NAAN, 4
                                                                                                                                                                                                instincts. Beoraware: of
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        Code
        Code, 300:         Indecent Exposure.
                    300: Indecent                                                                                                                                           9. Trust:your
                                                                                                                                                                            9.           your° instincts.                      of situations, that: make
                                                          4°                                                                                                                                           na aa                 4           eo “ . “t
                                        toyi not                                                                                                                                             uncomfortable.. If
    6                 a 4                                                                                                                                                             e                                                                       o
   Victimized detainees, shall        shall        be subject to disciplinary
                                               not be                                                   1
                                                                                                                                                                               you feel
                                                                                                                                                                                     feelI uncomfortable.             If it:does
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                                             4                                               4                                                                                 4         a                             1. assistance.. If
   action for reporting sexual abuse or for participating       participating in                                                                                               leave’ the
                                                                                                                                                                               leave          situationL or seek
                                                                                                                                                                                            : situation          seek                   If you fear for
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                                                                                                                                                                                        safety, report your concerns1to staff.
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   sexual activity
                 activity7 as   a
                               you           of force, coercion, threats or   or                                                                      >                        your safety,                                      5    staff.                             .                                                               ,                                         .
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   fear of       force. If
    o    .       °
            of force.     If you experience retaliation for        for reporting                        .
                                                                                                        ’                                                                   at
                                                                                                                                                                            Report All
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              4 1
   sexual abuse
                              a
                 abuse2, or for engaging in sexual  sexual| activity as as a result                                                                                                          AHAssaults
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   of force: or coercion, you can           canL report itooin any way that                                                                                                                                              of aaLsexual. assault,
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   you report an incident of
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                                        of sexual
                                            sexual abuse.
                                                     abuse.                                               1   *
                                                                                                                                                                            incident immediately. Individuals         Individuals who sexually abuse or
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   In addition, consensualt sexual       sexual| conduct.
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                                                               between detain-                                                                                                            detainees; can only
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          is   also prohibited                               4
                                      and subject to administrative and      and                                                                                            the abuse is
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   disciplinary sanctions.
                         sanctions.                                                                                                                                                                  -                              ~
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   Detention as               safe: environment
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                    are.: detained, no; one has the, right to
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   ·whilea¥ you are                                          to pressure             i
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   you to engage in sexual acts
   you
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                                    acts; or engage in unwanted sexu-                                                                                                                         1oo :                  1?               :                      .
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   al behavior.
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      behavior. Regardless‘ of      of your age,
                                              age, size,
                                                    size, race, ethnicity,
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             orientation: or gender
   sexual orientation           gender1     1
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   to 4be safe
           safe  : from    unwanted    sexual   advances   and  acts.
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   Confidentiality
   Confidentiality                                                                                                                                                                                                 “1 on
   von        :             aoa
                           the identity of
                concerning the
   Information concerning
                                            ; as.
                                        of aa detainee victim
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   Information                                                                                                                                                                                         v4                as         .      .     tn
   reporting; a sexual
                sexual1assault,         facts3 of
                       assault, and the facts
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                                                                                                                                                                                                                   staff member                         the facility;
   self,
          an       oy     4       ass
                        “yt to those.; who have aa1 need-to-know
   self,>will'i be limited                          need-to-know in     at
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   order to make decisions concerning the
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                                         ’ detainee victim’s
                                                    victim's
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   welfare and for law enforcement investigative purposes.                                                                                                 .
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   Avoiding sexual
            sexual assault                                                                                                                                                                              TO~aA
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   °Sexual
    Sexuall assault
            assaultL is    never the
                       is, never         victim's5fault. Knowing the
                                    the victim’s
                                      t       ‘

                           1     1                                                                                                                                               •° Call:
                                                                                                                                                                                     Call:                 1-888-351-4024
   warning, signs                  flags‘ can help you stay alert and
               signs‘, and red flags                            .    and                 ,
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                                                                                                                                                                                                the ICE‘ OPR
                                                                                                                                                                                                             aoa                                                      my
                                                                                                                                                                            6. Contact
                                                                                                                                                                            6.  Contact                                  ‘ JIC:
                                                                                                                                                                                                                            JIC:
    aware:
    aware:
                                                                                                                                                                                                           1-877-746-8953
    %  ~
    1. Carry
    1. Carry r
                yourself in
               yourself                         manner. Many attackers
                            in aa confident manner.                                                                                                                              °• Call:
                                                                                                                                                                                     Call:                 1-877-246-8253
                                                                                                                                                                                                           1-877-246-8253
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       choose»’ victims‘, who  Selookealike     theyr would
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                                                                                                                                                                                                          Joint.
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                                                                                                                                                                                                            Intake@dhs.gov
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       back or who they think            are emotionally
                                think53are   emotionally ™ weak;
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    2. Do not accept gifts
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                                   or favors
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                                               from   others. Most gifts
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       or favors
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Confidential
Confidential                                                                                                                                                                                                                                                                                                                                                      GEO-MEN
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   You do1 not have to give‘ your name’ to reportt sexualL abuse,          The     emotional
                                                                                   emotional  i consequences3 of sexual    sexual     assault
      one te tat                   con                         -4                                                                                                                                                                                                                                                                                                                               ~
   or assault,>but    the more informationLvou
                 but the                              canLprovide,,
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   the easier it will be to
   the                      to investigate
                                investigate, what happened. Staff
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        a    Lone         .   1     1               ‘   coe       .
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                                                                                      embarrassment,    anger,
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                 required to keep
   members; are' required     keep) the: reported information
                                                     information                                                                                                                                                                                                                                               te,
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   cials on aa7 need-to-know
                need-to-know basis.
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   Next steps
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   attempted sexual
   attempted  sexual assault                                                                      ~
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        clinical assessment., You do not have.. to name.‘ the
   and clinical                                 1                                                                                                                                                                                                                                                                   :
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